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                   WŽůǇŐƌĂƉŚ ǆĂŵŝŶĂƚŝŽŶ ŽĨ KƌĞŶ ůĞǆĂŶĚĞƌ ŽŶ :ĂŶƵĂƌǇ ϭϯ͕ ϮϬϮϱ
                             WZ/s/>' ddKZEz tKZ< WZKhd




                             dĂŵƉĂ WŽůǇŐƌĂƉŚ ^ĞƌǀŝĐĞƐ͕ >>
                             :ĂŵĞƐ Kƌƌ WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌ
                             &/ ^ƉĞĐŝĂů ŐĞŶƚ͕ ƌĞƚŝƌĞĚ
;ϴϭϯͿ ϱϬϰͲϮϱϯϯ                                                            ŽƌƌƉŽůǇΛŐŵĂŝů͘ĐŽŵ
ϭϰϱϬϮ E͘ ĂůĞ DĂďƌǇ ,ŝŐŚǁĂǇ͕ ^ƵŝƚĞ ϮϬϬ                       ǁǁǁ͘ƚĂŵƉĂƉŽůǇŐƌĂƉŚƐĞƌǀŝĐĞƐ͘ĐŽŵ
dĂŵƉĂ͕ &ůŽƌŝĚĂ ϯϯϲϭϴ




                            KZE >yEZ
                            WK>z'ZW, yD/Ed/KE ZWKZd
                            WK>z'ZW, yD/Ed/KE d͗ :EhZz ϭϯ͕ ϮϬϮϱ
                            d WZWZ͗ :EhZz ϭϰ͕ ϮϬϮϱ




                            WZWZ &KZ͗
                            Z/,Z ͘ <>h',͕ W͘͘
                            ϰϬ Et ϯZ ^dZd͕ WEd,Kh^ ϭ
                            D/D/͕ &>KZ/ ϯϯϭϮϴ




                            ZWKZd z͗

                            :D^ d͘ KZZ

                            ^ /͗ ϮϱͲϬϭϭϯϯϮϴϵ




WĂŐĞ ϭ ŽĨ ϲ
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                        WZ/s/>' ddKZEz tKZ< WZKhd




                                d> K& KEdEd^


WĂŐĞ Ϯ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ dĂďůĞ ŽĨ ŽŶƚĞŶƚƐ

WĂŐĞ ϯ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ZĞƋƵĞƐƚ ĨŽƌ WŽůǇŐƌĂƉŚ ǆĂŵŝŶĂƚŝŽŶ

WĂŐĞ ϯ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ĂĐŬŐƌŽƵŶĚ

WĂŐĞ ϯ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ^ƵŝƚĂďŝůŝƚǇ

WĂŐĞ ϰ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ŽŶƐĞŶƚ ĂŶĚ /ŶƚĞƌǀŝĞǁ

WĂŐĞ ϰ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ZĞůĞǀĂŶƚ YƵĞƐƚŝŽŶƐ

WĂŐĞ ϰ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ DĞƚŚŽĚŽůŽŐǇ

WĂŐĞ ϱ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ǆĂŵŝŶĂƚŝŽŶ dĞĐŚŶŝƋƵĞƐ

WĂŐĞ ϱ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ ŚĂƌƚ ǀĂůƵĂƚŝŽŶ

WĂŐĞ ϱ͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙͙ /ŶƐƚƌƵŵĞŶƚĂƚŝŽŶ




                                      WĂŐĞ Ϯ ŽĨ ϲ
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                              WZ/s/>' ddKZEz tKZ< WZKhd




ZYh^d &KZ WK>z'ZW, yD/Ed/KE

ZŝĐŚĂƌĚ ͘ <ůƵŐŚ͕ ƐƋ͘ ŵĂĚĞ Ă ƌĞƋƵĞƐƚ ŽĨ :ĂŵĞƐ d͘ Kƌƌ Ăƚ dĂŵƉĂ WŽůǇŐƌĂƉŚ ^ĞƌǀŝĐĞƐ͕ >> ƚŚĂƚ ŚŝƐ
ĐůŝĞŶƚ͕ KƌĞŶ ůĞǆĂŶĚĞƌ͕ ďĞ ĂĨĨŽƌĚĞĚ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ƚŽ ĚĞƚĞƌŵŝŶĞ ǁŚĞƚŚĞƌ KƌĞŶ
ůĞǆĂŶĚĞƌ ĞǀĞƌ ŚĂĚ ƐĞǆ ǁŝƚŚ ĂŶǇ ǁŽŵĂŶ ŚĞ ŬŶĞǁ ŚĂĚ ďĞĞŶ ĐŽǀĞƌƚůǇ ŐŝǀĞŶ ĚƌƵŐƐ͘

<'ZKhE

ZĞǀŝĞǁ ŽĨ ƚŚĞ ŝŶĚŝĐƚŵĞŶƚ ĂŶĚ ĐŽŶǀĞƌƐĂƚŝŽŶƐ ǁŝƚŚ ƚŚĞ ĂƚƚŽƌŶĞǇƐ ƌĞǀĞĂůĞĚ ƚŚĞ ĨŽůůŽǁŝŶŐ͗

KŶ ĞĐĞŵďĞƌ ϭϭ͕ ϮϬϮϰ͕ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ŝƐƚƌŝĐƚ ŽƵƌƚ ĨŽƌ ƚŚĞ ^ŽƵƚŚĞƌŶ ŝƐƚƌŝĐƚ ŽĨ EĞǁ zŽƌŬ
ƌĞƚƵƌŶĞĚ Ă ƐƵƉĞƌƐĞĚŝŶŐ ŝŶĚŝĐƚŵĞŶƚ ĐŚĂƌŐŝŶŐ ďƌŽƚŚĞƌƐ ůŽŶ͕ KƌĞŶ ĂŶĚ dĂů ůĞǆĂŶĚĞƌ ǁŝƚŚ͗
ŽƵŶƚ KŶĞ Ͳ ŽŶƐƉŝƌĂĐǇ ƚŽ Žŵŵŝƚ ^Ğǆ dƌĂĨĨŝĐŬŝŶŐ ŝŶ ǀŝŽůĂƚŝŽŶ ŽĨ dŝƚůĞ ϭϴ͕ hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĚĞ͕
^ĞĐƚŝŽŶ ϭϱϵϰΞ͘
ŽƵŶƚ dǁŽ ʹ ^Ğǆ dƌĂĨĨŝĐŬŝŶŐ ŽĨ sŝĐƚŝŵ ϭ ďǇ &ŽƌĐĞ͕ &ƌĂƵĚ͕ Žƌ ŽĞƌĐŝŽŶ ŝŶ ǀŝŽůĂƚŝŽŶ ŽĨ dŝƚůĞ ϭϴ͕
hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĚĞ͕ ^ĞĐƚŝŽŶƐ ϭϱϵϭ;ĂͿ ĂŶĚ ;ďͿ;ϭͿ͕ ĂŶĚ ;ϮͿ͘
ŽƵŶƚ dŚƌĞĞ ʹ ^Ğǆ dƌĂĨĨŝĐŬŝŶŐ ŽĨ sŝĐƚŝŵ Ϯ ďǇ &ŽƌĐĞ͕ &ƌĂƵĚ͕ Žƌ ŽĞƌĐŝŽŶ͕ ŝŶ ǀŝŽůĂƚŝŽŶ ŽĨ dŝƚůĞ ϭϴ͕
hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĚĞ͕ ^ĞĐƚŝŽŶƐ ϭϱϵϭ;ĂͿ ĂŶĚ ;ďͿ;ϭͿ͕ ĂŶĚ ;ϮͿ͘

dŚĞ ŝŶĚŝĐƚŵĞŶƚ ĂůůĞŐĞƐ ƚŚĂƚ͕ ƐƚĂƌƚŝŶŐ ŝŶ Žƌ ĂďŽƵƚ ϮϬϮϭ͕ ůŽŶ ůĞǆĂŶĚĞƌ͕ KƌĞŶ ůĞǆĂŶĚĞƌ ĂŶĚ dĂů
ůĞǆĂŶĚĞƌ͕ ĂŶĚ ŽƚŚĞƌƐ ŬŶŽǁŶ ĂŶĚ ƵŶŬŶŽǁŶ͕ ŽƉĞƌĂƚĞĚ Ă ůŽŶŐͲƌƵŶŶŝŶŐ ƐĞǆ ƚƌĂĨĨŝĐŬŝŶŐ ƐĐŚĞŵĞ͕ ĂƐ
ƉĂƌƚ ŽĨ ǁŚŝĐŚ ƚŚĞǇ ƌĂƉĞĚ ĂŶĚ ƐĞǆƵĂůůǇ ĂƐƐĂƵůƚĞĚ ǁŽŵĞŶ ǁŚŽŵ ƚŚĞǇ ƉƌŽǀŝĚĞĚ ǁŝƚŚ ŵĂƚĞƌŝĂů
ďĞŶĞĨŝƚƐ͕ ŝŶĐůƵĚŝŶŐ ĚŽŵĞƐƚŝĐ ĂŶĚ ŝŶƚĞƌŶĂƚŝŽŶĂů ƚƌĂǀĞů ƚŽ ǀĂĐĂƚŝŽŶ ĚĞƐƚŝŶĂƚŝŽŶƐ͕ ůƵǆƵƌǇ
ĂĐĐŽŵŵŽĚĂƚŝŽŶƐ Ăƚ ŚŝŐŚͲĞŶĚ ŚŽƚĞůƐ ĂŶĚ ǀĂĐĂƚŝŽŶ ƉƌŽƉĞƌƚŝĞƐ͕ ĂŶĚ ĂĐĐĞƐƐ ƚŽ ŽƚŚĞƌ ůƵǆƵƌǇ
ĞǆƉĞƌŝĞŶĐĞƐ ĂŶĚ ĞǀĞŶƚƐ͘ dŚĞ ƐĐŚĞŵĞ ǁĂƐ ĂůůĞŐĞĚ ƚŽ ŚĂǀĞ ŽĐĐƵƌƌĞĚ ŝŶ͕ ĂŵŽŶŐ ŽƚŚĞƌ ƉůĂĐĞƐ͕
DĂŶŚĂƚƚĂŶ͕ EĞǁ zŽƌŬ ĂŶĚ DŝĂŵŝ͕ &ůŽƌŝĚĂ͕ ǁŚĞƌĞ ƚŚĞ ďƌŽƚŚĞƌƐ ŵĂŝŶƚĂŝŶĞĚ ƌĞƐŝĚĞŶĐĞƐ ĂŶĚ ǁŚĞƌĞ
ƚŚĞŝƌ ďƵƐŝŶĞƐƐĞƐ ǁĞƌĞ ďĂƐĞĚ͘

/ƚ ŝƐ ĂůůĞŐĞĚ ƚŚĂƚ ƚŚĞ ďƌŽƚŚĞƌƐ ĚƌƵŐŐĞĚ ƚŚĞŝƌ ǀŝĐƚŝŵƐ ĂŶĚ͕ Ăƚ ƚŝŵĞƐ͕ ƵƐĞĚ ƉŚǇƐŝĐĂů ĨŽƌĐĞ ƚŽ ƌĂƉĞ
ĂŶĚ ƐĞǆƵĂůůǇ ĂƐƐĂƵůƚ ƚŚĞ ǀŝĐƚŝŵƐ͕ ƐŽŵĞƚŝŵĞƐ ĂůŽŶĞ ĂŶĚ ƐŽŵĞƚŝŵĞƐ ƚŽŐĞƚŚĞƌ͘ dŚĞǇ ĂƌĞ ĂůůĞŐĞĚ ƚŽ
ŚĂǀĞ ǁŽƌŬĞĚ ǁŝƚŚ ŽƚŚĞƌ ŵĞŶ ƚŽ ĂƌƌĂŶŐĞ ƚŚĞƐĞ ĞǀĞŶƚƐ ĂŶĚ ƚƌŝƉƐ͘ dŚĞ ďƌŽƚŚĞƌƐ ĚĞŶǇ ƚŚĞ
ĂůůĞŐĂƚŝŽŶƐ ĂŶĚ ĂƐƐĞƌƚ ƚŚĂƚ ƚŚĞ ĂůůĞŐĞĚ ǀŝĐƚŝŵƐ ƌĞĨĞƌĞŶĐĞĚ ŝŶ ƚŚĞ ŝŶĚŝĐƚŵĞŶƚ͕ ĂƐ ǁĞůů ĂƐ ŽƚŚĞƌ
ǁŽŵĞŶ ǁŚŽ ŚĂǀĞ ŵĂĚĞ ĂůůĞŐĂƚŝŽŶƐ ĂŐĂŝŶƐƚ ƚŚĞŵ͕ ǁĞƌĞ ŶŽƚ ƐƵƌƌĞƉƚŝƚŝŽƵƐůǇ ĚƌƵŐŐĞĚ ĂŶĚ ƐĞǆƵĂůůǇ
ĂƐƐĂƵůƚĞĚ͘

^h/d/>/dz &KZ WK>z'ZW, yD/Ed/KE

dŚƌŽƵŐŚ ŽďƐĞƌǀĂƚŝŽŶ ĂŶĚ ŝŶƚĞƌǀŝĞǁ͕ KƌĞŶ ůĞǆĂŶĚĞƌ ĂƉƉĞĂƌĞĚ ƚŽ ďĞ ƉŚǇƐŝĐĂůůǇ ĂŶĚ ŵĞĚŝĐĂůůǇ
ƐƵŝƚĂďůĞ ƚŽ ƚĂŬĞ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ͘ ,Ğ ĂůƐŽ ĂƉƉĞĂƌĞĚ ůƵĐŝĚ ĂŶĚ ƌĂƚŝŽŶĂů ĚƵƌŝŶŐ ƚŚĞ ƉƌĞͲ
ƚĞƐƚ ŝŶƚĞƌǀŝĞǁ͘ Ŷ ĐƋƵĂŝŶƚĂŶĐĞ dĞƐƚ ǁĂƐ ĂĚŵŝŶŝƐƚĞƌĞĚ ĂƐ ƚŚĞ ĨŝƌƐƚ ĐŚĂƌƚ ĂŶĚ ƌĞǀĞĂůĞĚ ƐƵĨĨŝĐŝĞŶƚ
ĞůĞĐƚƌŽͲĚĞƌŵĂů ĂŶĚ ĐĂƌĚŝŽǀĂƐĐƵůĂƌ ƌĞĂĐƚŝǀŝƚǇ ƚŽ ĞĨĨĞĐƚŝǀĞůǇ ĐŽŶĚƵĐƚ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ͘

                                             WĂŐĞ ϯ ŽĨ ϲ
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                    WŽůǇŐƌĂƉŚ ǆĂŵŝŶĂƚŝŽŶ ŽĨ KƌĞŶ ůĞǆĂŶĚĞƌ ŽŶ :ĂŶƵĂƌǇ ϭϯ͕ ϮϬϮϱ
                              WZ/s/>' ddKZEz tKZ< WZKhd


KE^Ed E /EdZs/t

KŶ :ĂŶƵĂƌǇ ϭϯ͕ ϮϬϮϱ͕ KƌĞŶ ůĞǆĂŶĚĞƌ ǀŽůƵŶƚĂƌŝůǇ ĂŐƌĞĞĚ ƚŽ ĂŶ ŝŶƚĞƌǀŝĞǁ ďǇ ŵĞĂŶƐ ŽĨ Ă
ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ Ăƚ ƚŚĞ &ĞĚĞƌĂů ĞƚĞŶƚŝŽŶ ĞŶƚĞƌ͕ ϯϯ E ϰƚŚ ^ƚƌĞĞƚ͕ DŝĂŵŝ͕ &> ϯϯϯϭϮ͘ dŚĞ
ĞǆĂŵŝŶĂƚŝŽŶ ƌŽŽŵ ƵƐĞĚ ǁĂƐ ƌĞĂƐŽŶĂďůǇ ĨƌĞĞ ŽĨ ĚŝƐƚƌĂĐƚŝŽŶƐ͘ ,Ğ ƐƚĂƚĞĚ ƚŚĂƚ ŚĞ ƵŶĚĞƌƐƚŽŽĚ ƚŚĞ
ƉƵƌƉŽƐĞ ĨŽƌ ƚŚĞ ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ĂŶĚ ŝŶĚŝĐĂƚĞĚ ǁŝůůŝŶŐŶĞƐƐ ƚŽ ƚĂŬĞ ƚŚĞ ƉŽůǇŐƌĂƉŚ
ĞǆĂŵŝŶĂƚŝŽŶ ďǇ ƐŝŐŶŝŶŐ ƚŚĞ ͞ŽŶƐĞŶƚ ƚŽ WŽůǇŐƌĂƉŚ ŐƌĞĞŵĞŶƚ͟ ĨŽƌŵ ĂĨƚĞƌ ďĞŝŶŐ ŐŝǀĞŶ ĂŶ
ŽǀĞƌǀŝĞǁ ŽĨ ƚŚĞ ƉŽůǇŐƌĂƉŚ ƉƌŽĐĞƐƐ͘ ĂƐĞĚ ŽŶ ƚŚĞ ďĂĐŬŐƌŽƵŶĚ ŝŶĨŽƌŵĂƚŝŽŶ ŶŽƚĞĚ ĂďŽǀĞ͕ ƚŚĞ
ĨŽůůŽǁŝŶŐ ƌĞůĞǀĂŶƚ ƋƵĞƐƚŝŽŶƐ ǁĞƌĞ ĨŽƌŵƵůĂƚĞĚ͘

Z>sEd Yh^d/KE^

    ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ǁĂƐ ĂĚŵŝŶŝƐƚĞƌĞĚ ƵƐŝŶŐ ƚŚĞ ĨŽůůŽǁŝŶŐ ƌĞůĞǀĂŶƚ ƋƵĞƐƚŝŽŶƐ͕ Ăůů ŽĨ
ǁŚŝĐŚ ǁĞƌĞ ĂŶƐǁĞƌĞĚ ͞EŽ͗͟

ϭ͘     ŝĚ ǇŽƵ ŚĂǀĞ ƐĞǆ ǁŝƚŚ      ǁŚĞŶ ǇŽƵ ŬŶĞǁ ƐŚĞ ŚĂĚ ďĞĞŶ ĐŽǀĞƌƚůǇ ŐŝǀĞŶ ĚƌƵŐƐ͍
Ϯ͘     /Ŷ EĞǁ zŽƌŬ͕ ĚŝĚ ǇŽƵ ŚĂǀĞ ƐĞǆ ǁŝƚŚ      ǁŚĞŶ ǇŽƵ ŬŶĞǁ ƐŚĞ ŚĂĚ ďĞĞŶ ĐŽǀĞƌƚůǇ ŐŝǀĞŶ
ĚƌƵŐƐ͍
ϯ͘     ŝĚ ǇŽƵ ŚĂǀĞ ĂŶǇ ŬŝŶĚ ŽĨ ƐĞǆ ǁŝƚŚ      ǁŚĞŶ ǇŽƵ ŬŶĞǁ ƐŚĞ ŚĂĚ ƐĞĐƌĞƚůǇ ďĞĞŶ ŐŝǀĞŶ
ĚƌƵŐƐ͍
ϰ͘     /Ŷ EĞǁ zŽƌŬ͕ ĚŝĚ ǇŽƵ ŚĂǀĞ ĂŶǇ ŬŝŶĚ ŽĨ ƐĞǆ ǁŝƚŚ    ǁŚĞŶ ǇŽƵ ŬŶĞǁ ƐŚĞ ŚĂĚ ƐĞĐƌĞƚůǇ
ďĞĞŶ ŐŝǀĞŶ ĚƌƵŐƐ͍

͞^Ğǆ͟ ǁĂƐ ĚĞĨŝŶĞĚ ĂƐ ǀĂŐŝŶĂů͕ ĂŶĂů Žƌ ŽƌĂů ƐĞǆ͘
      ͟ ǁĂƐ ĚĞĨŝŶĞĚ ĂƐ ďĞŝŶŐ sŝĐƚŝŵ Ϯ ŝŶ ŽƵŶƚ dŚƌĞĞ ŽĨ ƚŚĞ ŝŶĚŝĐƚŵĞŶƚ͘
͞ŬŶĞǁ͟ ǁĂƐ ĚĞĨŝŶĞĚ ĂƐ ŚĞ ǁŽƵůĚ ŬŶŽǁ ŝĨ ŚĞ ŚĂĚ ƉĞƌƐŽŶĂůůǇ ĚƌƵŐŐĞĚ ŚĞƌ͕ ŚĞ ƐĂǁ ƐŽŵĞďŽĚǇ ĚƌƵŐ
ŚĞƌ Žƌ ƐŽŵĞďŽĚǇ ƚŽůĚ Śŝŵ ƚŚĞǇ ĚƌƵŐŐĞĚ ŚĞƌ͘
͞ŽǀĞƌƚůǇ ĂŶĚ ƐĞĐƌĞƚůǇ͟ ǁĞƌĞ ĚĞĨŝŶĞĚ ĂƐ       ďĞŝŶŐ ŐŝǀĞŶ ĚƌƵŐƐ ǁŝƚŚŽƵƚ ŚĞƌ ŬŶŽǁůĞĚŐĞ ĂŶĚ
ĐŽŶƐĞŶƚ͘
͞ƌƵŐƐ͟ ǁĞƌĞ ĚĞĨŝŶĞĚ ĂƐ ďĞŝŶŐ ',͕ ŵƵƐŚƌŽŽŵƐ͕ ĐŽĐĂŝŶĞ͕ ƌŽŽĨŝĞƐ͕ Žƌ ĂŶǇ ŽƚŚĞƌ ĚƌƵŐ ƚŚĂƚ ĐŽƵůĚ
ďĞ ƵƐĞĚ ĂƐ Ă ĚĂƚĞ ƌĂƉĞ ĚƌƵŐ͘

Dd,KK>K'z

dŚĞ ƚĞĐŚŶŝƋƵĞ ƵƐĞĚ ƚŽ ĞǆĂŵŝŶĞ Dƌ͘ ůĞǆĂŶĚĞƌ ǁĂƐ Ă hƚĂŚ ŽŶĞ ǀĞŶƚ ^ƉĞĐŝĨŝĐ WƌŽďĂďůĞ >ŝĞ
ŽŵƉĂƌŝƐŽŶ YƵĞƐƚŝŽŶ dĞƐƚ͘ ^ƚƵĚŝĞƐ ůĞĂĚŝŶŐ ƚŽ ŝƚƐ ĐƌĞĂƚŝŽŶ ďĞŐĂŶ ŝŶ ƚŚĞ ϭϵϳϬƐ ƚŚƌŽƵŐŚ ƚŚĞ
ĞĨĨŽƌƚƐ ŽĨ ƌƐ ZĂƐŬŝŶ͕ <ŝƌĐŚĞƌ ĂŶĚ ,ŽŶƚƐ ĂŶĚ ŽǀĞƌ ϯϬ ǇĞĂƌƐ ŽĨ ƌĞƐĞĂƌĐŚ ƐƵƉƉŽƌƚ ŝƚƐ ƉƌŝŶĐŝƉůĞƐ͘ dŚĞ
hƚĂŚ d ŵĞĞƚƐ ƚŚĞ W :ĂŶƵĂƌǇ ϭ͕ ϮϬϭϮ͕ sĂůŝĚĂƚĞĚ dĞĐŚŶŝƋƵĞƐ ZĞƋƵŝƌĞŵĞŶƚ ĨŽƌ ǀŝĚĞŶƚŝĂƌǇ
ƚĞƐƚŝŶŐ͕ WĂŝƌĞĚ dĞƐƚŝŶŐ͕ ĂŶĚ /ŶǀĞƐƚŝŐĂƚŝǀĞ dĞƐƚŝŶŐ͘ EŽƚĞ͗ ƌ͘ ZĂƐŬŝŶ ƚĞƐƚŝĨŝĞĚ ŝŶ h͘ ^͘ ŝƐƚƌŝĐƚ ŽƵƌƚ͕
DŝĚĚůĞ ŝƐƚƌŝĐƚ ŽĨ &ůŽƌŝĚĂ͕ ŝŶ ĞĐĞŵďĞƌ ϮϬϭϰ͕ ƚŚĂƚ ŚĞ ƌĞǀŝĞǁĞĚ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ
ĐŽŶĚƵĐƚĞĚ ďǇ ƚŚŝƐ ĞǆĂŵŝŶĞƌ ĂŶĚ ƚŚĂƚ ŝƚ ǁĂƐ Ă ƉƌŽƉĞƌůǇ ĐŽŶĚƵĐƚĞĚ hƚĂŚ ĞǆĂŵŝŶĂƚŝŽŶ ŵĞĞƚŝŶŐ ƚŚĞ
ƐƚĂŶĚĂƌĚƐ ŽĨ ƚŚĞ ƉƌŽĨĞƐƐŝŽŶ͘ ƌ͘ ,ŽŶƚƐ ŚĂƐ ĂůƐŽ ƌĞǀŝĞǁĞĚ ĂŶ ĞǆĂŵ ĐŽŶĚƵĐƚĞĚ ďǇ ǁƌŝƚĞƌ ĂŶĚ
ĨŽƵŶĚ ŝƚ ƚŽ ďĞ ƉƌŽƉĞƌůǇ ĂŶĚ ƉƌŽĨĞƐƐŝŽŶĂůůǇ ĐŽŶĚƵĐƚĞĚ͘
                                              WĂŐĞ ϰ ŽĨ ϲ
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                   WŽůǇŐƌĂƉŚ ǆĂŵŝŶĂƚŝŽŶ ŽĨ KƌĞŶ ůĞǆĂŶĚĞƌ ŽŶ :ĂŶƵĂƌǇ ϭϯ͕ ϮϬϮϱ
                             WZ/s/>' ddKZEz tKZ< WZKhd

yD/Ed/KE d,E/Yh^

 ƐƚŝŵƵůĂƚŝŽŶ ƚĞƐƚ ǁĂƐ ĂĚŵŝŶŝƐƚĞƌĞĚ ĂƐ ƚŚĞ ĨŝƌƐƚ ĐŚĂƌƚ ƚŽ ĂƐƐĞƐƐ ƚŚĞ ĞǆĂŵŝŶĞĞ͛Ɛ ƉŚǇƐŝŽůŽŐǇ ĂŶĚ
ƌĞĂĐƚŝǀŝƚǇ ďǇ ĚŝƌĞĐƚŝŶŐ ƚŚĞ ĞǆĂŵŝŶĞĞ ƚŽ ůŝĞ ŽŶ Ă ƉĂƌƚŝĐƵůĂƌ ŶƵŵďĞƌ ŝŶ Ă ƐĞƋƵĞŶĐĞ ŽĨ ŶƵŵďĞƌƐ͘
ƵƌŝŶŐ ƚŚŝƐ ƉƌŽĐĞƐƐ͕ ƚŚĞ ĞǆĂŵŝŶĞĞ͛Ɛ ďĂƐŝĐ ƌĞĂĐƚŝǀŝƚǇ ǁĂƐ ĂƐƐĞƐƐĞĚ͘ dŚŝƐ ĂƐƐĞƐƐŵĞŶƚ ŝƐ ƵƐĞĚ ƚŽ
ĞǀĂůƵĂƚĞ ĨŝƚŶĞƐƐ ĨŽƌ ĐŽŶƚŝŶƵĞĚ ƚĞƐƚŝŶŐ͕ ƚŽ ĂĚũƵƐƚ ƚŚĞ ŝŶƐƚƌƵŵĞŶƚ ƚŽ ƚŚĞ ĞǆĂŵŝŶĞĞΖƐ ƉŚǇƐŝŽůŽŐǇ
ĂŶĚ ĨŽƌ ĐŽŵƉĂƌŝƐŽŶ ǁŝƚŚ ƚŚĞ ƐƵďƐĞƋƵĞŶƚ ƉŽůǇŐƌĂƉŚ ĐŚĂƌƚƐ͘ dŚĞ ĞǆĂŵŝŶĞĞ͛Ɛ ƌĞƐƉŽŶƐĞ ƉĂƚƚĞƌŶƐ
ǁĞƌĞ ĂĐĐĞƉƚĂďůĞ͕ ĂŶĚ ŚĞ ƌĞĂĐƚĞĚ ĂƉƉƌŽƉƌŝĂƚĞůǇ ǁŚĞŶ ƚĞůůŝŶŐ Ă ĚŝƌĞĐƚĞĚ ůŝĞ͘  ĐŽŵƉĂƌŝƐŽŶ
ƋƵĞƐƚŝŽŶ ƚĞĐŚŶŝƋƵĞ ǁĂƐ ƵƚŝůŝǌĞĚ ƵƐŝŶŐ ƉƌŽďĂďůĞ ůŝĞƐ͘ &ŽƵƌ ƌĞůĞǀĂŶƚ ƋƵĞƐƚŝŽŶƐ ǁĞƌĞ ĂƐŬĞĚ ĂŶĚ
ƚŚƌĞĞ ĐŚĂƌƚƐ ǁĞƌĞ ĐŽůůĞĐƚĞĚ͘

,Zd s>hd/KE

^ƉŽƚ ĂŶĂůǇƐĞƐ ĂƌĞ ŵĂĚĞ Ăƚ ƚŚĞ ƌĞůĞǀĂŶƚ ƋƵĞƐƚŝŽŶ ƐƉŽƚƐ ĨŽƌ ĞĂĐŚ ŽĨ ƚŚĞ ĨŽƵƌ ĐŽŵƉŽŶĞŶƚƐ ƵƐĞĚ͗
ƚǁŽ ĐŽŵƉŽŶĞŶƚƐ ƵƐĞĚ ƚŽ ƌĞĐŽƌĚ ƌĞƐƉŝƌĂƚŽƌǇ ƌĞƐƉŽŶƐĞƐ͕ ŽŶĞ ĐŽŵƉŽŶĞŶƚ ƵƐĞĚ ƚŽ ƌĞĐŽƌĚ ŐĂůǀĂŶŝĐ
ƐŬŝŶ ƌĞƐƉŽŶƐĞ ;ƐǁĞĂƚ ŐůĂŶĚ ĂĐƚŝǀŝƚǇͿ͕ ŽŶĞ ĐŽŵƉŽŶĞŶƚ ƚŽ ƌĞĐŽƌĚ ĐŚĂŶŐĞƐ ŝŶ ĐĂƌĚŝŽǀĂƐĐƵůĂƌ ĂĐƚŝǀŝƚǇ
;ĐŚĂŶŐĞƐ ŝŶ ďůŽŽĚ ƉƌĞƐƐƵƌĞ ĂŶĚ ŚĞĂƌƚ ƌĂƚĞͿ ĂŶĚ ŽŶĞ ĐŽŵƉŽŶĞŶƚ ƚŽ ƌĞĐŽƌĚ ƉĞƌŝƉŚĞƌĂů ǀĂƐŽŵŽƚŽƌ
ĂĐƚŝǀŝƚǇ ;ĐŚĂŶŐĞƐ ŝŶ ďůŽŽĚ ǀŽůƵŵĞ ŝŶ ƚŚĞ ĞǆƚƌĞŵŝƚŝĞƐͿ͘ dŚĞ ĂŶĂůǇƐŝƐ ŝƐ ĐŽŵƉůĞƚĞĚ ďǇ ĐŽŵƉĂƌŝŶŐ
ƚŚĞ ƌĞĂĐƚŝŽŶƐ ƚŽ ƌĞůĞǀĂŶƚ ƋƵĞƐƚŝŽŶƐ ǁŝƚŚ ƚŚĞ ƌĞĂĐƚŝŽŶƐ ƚŽ ĐŽŵƉĂƌŝƐŽŶ ƋƵĞƐƚŝŽŶƐ͘

^ƵĨĨŝĐŝĞŶƚ ƌĞĂĐƚŝǀŝƚǇ ǁĂƐ ŽďƐĞƌǀĞĚ ĂŶĚ ƋƵĂŶƚŝĨŝĞĚ͕ ƚŚƵƐ ĂůůŽǁŝŶŐ ĨŽƌ ŽďũĞĐƚŝǀĞ ŶƵŵĞƌŝĐĂů ƐĐŽƌŝŶŐ
ƵƐŝŶŐ ƚŚĞ ŵƉŝƌŝĐĂů ^ĐŽƌŝŶŐ ^ǇƐƚĞŵͲDƵůƚŝŶŽŵŝĂů ;^^ͲDͿ͘ EƵŵĞƌŝĐĂů ƐĐŽƌŝŶŐ ŝƐ ƚŚĞ ƐƚĂŶĚĂƌĚ ĨŽƌ
ďŽƚŚ ĞǀŝĚĞŶƚŝĂƌǇ ĂŶĚ ŝŶǀĞƐƚŝŐĂƚŝǀĞ ĞǆĂŵŝŶĂƚŝŽŶƐ͘ dŚĞƌĞ ǁĞƌĞ ŶŽ ŝŶĚŝĐĂƚŝŽŶƐ ŽĨ ŽǀĞƌƚ ĚŝƐƚŽƌƚŝŽŶ
ŽĨ ƚŚĞ ĚĂƚĂ͘

ZĞƐĞĂƌĐŚ ŚĂƐ ƐŚŽǁŶ ƚŚĂƚ ƚŚĞ ŵŽƐƚ ĂĐĐƵƌĂƚĞ ǁĂǇ ƚŽ ĞǀĂůƵĂƚĞ Ă ĚŝĂŐŶŽƐƚŝĐ ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ
ŝƐ ƚŽ ƵƐĞ ŐƌĂŶĚ ƚŽƚĂů ƐĐŽƌĞƐ͘ tŝƚŚ ^^ͲD͕ Ă ŐƌĂŶĚ ƚŽƚĂů ƐĐŽƌĞ ŽĨ нϯ Žƌ ŐƌĞĂƚĞƌ ŝƐ ĂŶ ŝŶĚŝĐĂƚŽƌ ŽĨ
ƚƌƵƚŚĨƵůŶĞƐƐ ĂŶĚ Ă ŐƌĂŶĚ ƚŽƚĂů ƐĐŽƌĞ ŽĨ Ͳϯ Žƌ ůĞƐƐ ŝƐ ŝŶĚŝĐĂƚŝǀĞ ŽĨ ĚĞĐĞƉƚŝŽŶ͘ dŽƚĂů ŶƵŵĞƌŝĐĂů
ƐĐŽƌĞƐ ďĞƚǁĞĞŶ нϯ ĂŶĚ Ͳϯ ĂƌĞ ĐŽŶƐŝĚĞƌĞĚ ŝŶĐŽŶĐůƵƐŝǀĞ͕ ƵŶůĞƐƐ ƚŚĞƌĞ ŝƐ Ă ƐƉŽƚ ƐĐŽƌĞ ŽĨ Ͳϳ Žƌ ůĞƐƐ͕
ǁŚŝĐŚ ŝƐ ŝŶĚŝĐĂƚŝǀĞ ŽĨ ĚĞĐĞƉƚŝŽŶ͕ ƵƐŝŶŐ ƚŚĞ ƚǁŽͲƐƚĂŐĞ ƌƵůĞ͘ dŚĞ ĞǆĂŵŝŶĞƌ͛Ɛ ĞǀĂůƵĂƚŝŽŶ ƌĞƐƵůƚĞĚ ŝŶ
Ă ƐĐŽƌĞ ŽĨ нϮϵ͘ These analytic results support the conclusion that there were NO
SIGNIFICANT REACTIONS INDICATIVE OF DECEPTION in the loading of recorded
changes in physiological activity in response to the relevant test stimuli during this
examination.

Objective Scoring System 3, a computer scoring algorithm, concurred with the
examiner’s opinion with a probability of error of 0.005.

/E^dZhDEdd/KE

 >ĂĨĂǇĞƚƚĞ >yϲ ĐŽŵƉƵƚĞƌŝǌĞĚ ƉŽůǇŐƌĂƉŚ ǁŝƚŚ ^ŽĨƚǁĂƌĞ sĞƌƐŝŽŶ ϭϭ͘ϴ͘ϲ ǁĂƐ ƵƚŝůŝǌĞĚ ĨŽƌ ƚŚŝƐ
ĞǆĂŵŝŶĂƚŝŽŶ͘ dŚŝƐ ŝŶƐƚƌƵŵĞŶƚ ŝƐ ƉƌĞͲĐĂůŝďƌĂƚĞĚ ďǇ ƚŚĞ ŵĂŶƵĨĂĐƚƵƌĞƌ ǁŝƚŚ Ă ƐƚĂďůĞ ůŽŶŐͲƚĞƌŵ
ĐŝƌĐƵŝƚ ĚĞƐŝŐŶ͘ /Ŷ ĂĐĐŽƌĚĂŶĐĞ ǁŝƚŚ ŵĂŶƵĨĂĐƚƵƌĞƌ ƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐ͕ ƐĞůĨͲĐĂůŝďƌĂƚŝŽŶ ŽĨ ƚŚĞ


                                           WĂŐĞ ϱ ŽĨ ϲ
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                   WŽůǇŐƌĂƉŚ ǆĂŵŝŶĂƚŝŽŶ ŽĨ KƌĞŶ ůĞǆĂŶĚĞƌ ŽŶ :ĂŶƵĂƌǇ ϭϯ͕ ϮϬϮϱ
                             WZ/s/>' ddKZEz tKZ< WZKhd
ǀĂƌŝŽƵƐ ƐĞŶƐŽƌƐ ǁĂƐ ĐŽŶĚƵĐƚĞĚ ƉƌŝŽƌ ƚŽ ƚŚĞ ĞǆĂŵŝŶĂƚŝŽŶ͕ ĂŶĚ Ăůů ǁĞƌĞ ĨŽƵŶĚ ƚŽ ďĞ ĂĐĐĞƉƚĂďůĞ͘
>ĂĨĂǇĞƚƚĞ ĐƚŝǀŝƚǇ DŽŶŝƚŽƌƐ ǁĞƌĞ ƵƐĞĚ ĨŽƌ ĨĞĞƚ͕ ƐĞĂƚ͕ ĂŶĚ ĂƌŵƐ ĚƵƌŝŶŐ ƚŚŝƐ ĞǆĂŵŝŶĂƚŝŽŶ͘




:ĂŵĞƐ d͘ Kƌƌ




                                           WĂŐĞ ϲ ŽĨ ϲ
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                                              Lafayette Instrument Company
                                  Objective Scoring System - Version 3
                                       By Raymond Nelson, Mark Handler and Donald Krapohl (2007)



Result                        No Significant Reactions
Description                   p-value: 0.005 - Probability this result was produced by a deceptive person
Exam Type                     Event Specific/Single Issue (Zone)
Scoring Method                OSS-3 Two-stage (Senter 2003)
Test of Proportions           0.118 - No significant differences in artifact distribution
PF Name                       25-01133289
Report Date                   Monday, January 13, 2025
Subject                       Oren Alexander
Examiner                      System Administrator

                        Spot Scores                                      Decision Alpha (1 tailed)                                  Components
                                                                      Cumulative normal distribu ion (Barland 1985)
ID       p-value              Result                            Setting                                          Value Component                Weight
R1       0.601                                                  NSR                                              0.050 Pneumo                   0.19
R2       < 0.001                                                SR                                               0.050 EDA                      0.53
R3       < 0.001                                                Bonferroni corrected alpha                       0.013 Cardio                   0.28
R4       0.007                                                  Test of Proportions (1 tailed)                   0.050

                                                                  Relevant Questions
  ID                                                           Question Text                                                                          Answer
R1       Did you have sex with      when you knew she had covertly been given drugs?                                                                    No
R2       In New York, did you have sex with      when you knew she had been covertly given drugs?                                                       No
R3       Did you have any kind of sex with      when you knew she had secretly been given drugs?                                                        No
R4       In New York, did you have any kind of sex with    when you knew she had secretly been given drugs?                                             No

                                                                      Charts Scored
                Exam                                   Chart                                         Date                                  Time
                  3                                      1                                        1/13/2025                              4:02 PM
                  3                                      2                                        1/13/2025                              4:16 PM
                  3                                      3                                        1/13/2025                              4:24 PM


                                                                          Remarks




                                       Measurements                                                                   Standardized Lognormal Ratios
                                    (Kircher and Raskin 1988)

                                       Exam 3 Chart 1                                                                            Exam 3 Chart 1
                 C1         R1          C2       R2                C3            R3            R4                           R1        R2        R3        R4
P1              A665       A592        A530     A560              A553          A626          A534               P
P2              A398       A343        A379     A344              A470          A507          A487               EDA       -0.43      1.29    0.47       1.82
EDA              51         80         106        34                33           51             26               Cardio    -1.50      3.00    -0.76      3.00
Cardio           54         77           61       26                62           67             13               WMean     -0.80      1.88    0.04       2.23
SE              244        203         227       223              204           224           210                Mean                   0.84
AR              131        121          116      122               119          121            117                             Exam 3 Chart 2
FT              154        164         154       134              171           157           167                           R1      R2        R3          R4
MA              133        127         129       127               119          121           130                P
                                       Exam 3 Chart 2                                                            EDA       -1.79      1.20               -0.62
                   C1       R1          C2       R2                C3            R3             R4               Cardio    1.52       1.62               -0.11
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P1             A675        A604         A554     A705         594       A614          A752      WMean    -0.64    1.34                  -0.44
P2             A592        A580         A620     A804         816       A698          A873      Mean                  0.09
EDA             17         102          A69        23          65        48             57                   Exam 3 Chart 3
Cardio         168         105          171       103          89       A221           143                R1      R2        R3           R4
SE             430         316          280       317         688       340           538       P
AR             276         296          319       352         473       369           428       EDA      0.59     2.43           2.67   0.15
FT              311        310          401       406         328       279           334       Cardio   -3.00    -0.09          0.30   -0.91
MA             160         150          157       181         199       180           216       WMean    -0.65     1.56          1.85   -0.21
                                        Exam 3 Chart 3                                          Mean                      0.63
                C1          R1           C2       R2           C3        R3            R4
P1             A600        A725         A537     A625         A510      A417          A676
P2             A671        A577         A719     A646         A545      A647          A553
EDA             39          45           47        18          92        16            56
Cardio          51          80           54        42          21        39            49
SE             212         191          248       218         226       218           192
AR             310         253          320       303         256       312           293
FT             143         141          182       160         171       141           151
MA             181         138          187       165         165       177           163


                                  Channel Contributions                                                          Results
Component Proportion Area                      Chart            Proportion ID Proportion                      Weighted Mean
 Pneumo     1.000    1.000                 Exam 3 Chart 1         0.386    R1   0.089                     -0.70     1.59    0.94        0.53
   EDA      0.000    0.000                 Exam 3 Chart 2         0.258    R2   0.348                        Grand Total Mean
  Cardio    0.000    0.000                 Exam 3 Chart 3         0.356    R3   0.305                              0.59
                                                                           R4   0.258                               (Without Visual Inspection)
Note: Non-normal values


                                                       Advanced Options - OSS-3 v1.9
                                                             General Scoring Settings
Delete all zero measurements                                                             Yes
Zero Threshold value                                                                     1
Allow a single CQ to score result (not for DLST)                                         No
Replace missing values with mean values                                                  No
Check Extreme Contributions                                                              No
Allow SR Result when extreme contr butions                                               Yes
                                                             Alpha Values (one-tailed)
Kruskal-Wallis                                                                           0.1
Non-Significant Response (NSR)                                                           0.05
Significant Response (SR)                                                                0.05
                                                                Test of Proportions
Test of Proportions alpha value (two-tailed)                                            0.1
Use Test of Proportions                                                                 Yes
Allow significant reaction result                                                       Yes
Use all questions                                                                       No
Score neutral questions as control                                                      No
                                                         Event Specific/Single Issue (Zone)
Use Bonferroni                                                                          Yes
Use Kruskal-Wallis                                                                      No
Minimum number of useable presentations for RQs                                         2
                                                               Measurement Periods
P1                                                                                      15
P2                                                                                      15
EDA                                                                                     15
Cardio                                                                                  15
All other                                                                               15
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                         Curriculum Vitae


                                 Of

                           James T. Orr

                            dĂŵƉĂ͕ &ůŽƌŝĚĂ

                            ϴϭϯͲϱϬϰͲϮϱϯϯ

                          &Ăǆ͗ ϴϭϯͲϵϮϬͲϯϭϬϴ
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                                 hZZ/h>hD s/d


:ĂŵĞƐ d͘ Kƌƌ

dĂŵƉĂ WŽůǇŐƌĂƉŚ ^ĞƌǀŝĐĞƐ͕ >>

:ĂŵĞƐ Kƌƌ /ŶǀĞƐƚŝŐĂƚŝŽŶƐ͕ >>

dĂŵƉĂ͕ &ůŽƌŝĚĂ

ƵƐŝŶĞƐƐͬDŽďŝůĞ͗ ϴϭϯͲϱϬϰͲϮϱϯϯ

&Ăǆ͗ ϴϭϯͲϵϮϬͲϯϭϬϴ

ŵĂŝů͗ ŽƌƌƉŽůǇΛŐŵĂŝů͘ĐŽŵ

tĞď͗ ǁǁǁ͘dĂŵƉĂWŽůǇŐƌĂƉŚ^ĞƌǀŝĐĞƐ͘ĐŽŵ



                                     KEdEd^
   /͘       hd/KE E 'EZ> <'ZKhE


   //͘      WK>z'ZW, dZ/E/E' E KEd/Eh/E' hd/KE


   ///͘     WZK&^^/KE> yWZ/E E ^^K/d/KE^


   /s͘      WK>z'ZW, yD/Ed/KE^ D/dd /E &Z> KhZd
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                                         /
       hd/KE E 'EZ> <'ZKhE
       ϭ͘    ^ĂŝŶƚ ůĂŝƌ ŽƵŶƚǇ ŽŵŵƵŶŝƚǇ ŽůůĞŐĞ͕ WŽƌƚ ,ƵƌŽŶ͕
             DŝĐŚŝŐĂŶ͗  ŝŶ ůĂǁ ŶĨŽƌĐĞŵĞŶƚ͕ ϭϵϳϰ͘

       Ϯ͘    KĂŬůĂŶĚ WŽůŝĐĞ ĐĂĚĞŵǇ͕ KĂŬůĂŶĚ ŽƵŶƚǇ͕ DŝĐŚŝŐĂŶ͗
             'ƌĂĚƵĂƚĞĚ ŝŶ ϭϵϳϲ ǁŝƚŚ ƚŽƉ ĂĐĂĚĞŵŝĐ ĂǁĂƌĚ͘

       ϯ͘    DĂĚŽŶŶĂ ŽůůĞŐĞ͕ >ŝǀŽŶŝĂ͕ DŝĐŚŝŐĂŶ͗ ͘^͘ ŝŶ ƌŝŵŝŶĂů
             :ƵƐƚŝĐĞ͕ ϭϵϴϬ͘

       ϰ͘    hŶŝǀĞƌƐŝƚǇ ŽĨ DŝĐŚŝŐĂŶͲĞĂƌďŽƌŶ͗ dǁŽ ǇĞĂƌƐ ŽĨ ƉĂƌƚͲ
             ƚŝŵĞ ƐƚƵĚŝĞƐ ƚŽǁĂƌĚ Ă DĂƐƚĞƌ ŽĨ WƵďůŝĐ ĚŵŝŶŝƐƚƌĂƚŝŽŶ͘
             EŽ ĚĞŐƌĞĞ ĚƵĞ ƚŽ ĞŵƉůŽǇŵĞŶƚ ĂŶĚ ƌĞůŽĐĂƚŝŽŶ ďǇ ƚŚĞ
             &ĞĚĞƌĂů ƵƌĞĂƵ ŽĨ /ŶǀĞƐƚŝŐĂƚŝŽŶ͘

       ϱ͘    tĞƐƚůĂŶĚ ŝƚǇ WŽůŝĐĞ ĞƉĂƌƚŵĞŶƚ͕ tĞƐƚůĂŶĚ͕ DŝĐŚŝŐĂŶ͗
             WŽůŝĐĞ ĂĚĞƚ͕ ϭϵϳϰ ʹ ϭϵϳϲ͘

       ϲ͘    tĞƐƚůĂŶĚ ŝƚǇ WŽůŝĐĞ ĞƉĂƌƚŵĞŶƚ͕ tĞƐƚůĂŶĚ͕ DŝĐŚŝŐĂŶ͗
             WŽůŝĐĞ KĨĨŝĐĞƌ͕ ϭϵϳϲ ʹ ϭϵϴϯ͘

       ϳ͘    &ĞĚĞƌĂů ƵƌĞĂƵ ŽĨ /ŶǀĞƐƚŝŐĂƚŝŽŶ͗ KĐƚŽďĞƌ Ϯ͕ ϭϵϴϯ ƚŽ
             :ĂŶƵĂƌǇ ϭ͕ ϮϬϭϭ͗ ƐƐŝŐŶĞĚ ĂƐ Ă ^ƉĞĐŝĂů ŐĞŶƚ ŝŶ
             ^ŚƌĞǀĞƉŽƌƚ͕ >ŽƵŝƐŝĂŶĂ͖ ĂůƚŝŵŽƌĞ͕ DĂƌǇůĂŶĚ ĂŶĚ
             dĂŵƉĂ͕ &ůŽƌŝĚĂ͘

       ϴ͘    dĂŵƉĂ WŽůǇŐƌĂƉŚ ^ĞƌǀŝĐĞƐ͕ >͘>͘͗͘ ƐƚĂďůŝƐŚĞĚ :ĂŶƵĂƌǇ
             ϮϬϭϭ͖ ŽǁŶĞƌ ĂŶĚ ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĞƌ͕ ĐŽŶĚƵĐƚŝŶŐ
             ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶƐ ŝŶ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ĂŶĚ
             ĂďƌŽĂĚ͘
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       ϵ͘    :ĂŵĞƐ Kƌƌ /ŶǀĞƐƚŝŐĂƚŝŽŶƐ͕ >͘>͘͗͘ ƐƚĂďůŝƐŚĞĚ :ƵůǇ ϮϬϭϭ͖
             ŽǁŶĞƌ ĂŶĚ ƉƌŝŵĂƌǇ ŝŶǀĞƐƚŝŐĂƚŽƌ͘ /ŶǀĞƐƚŝŐĂƚŝŽŶƐ ƐŝŶĐĞ
             ƌĞƚŝƌĞŵĞŶƚ ĨƌŽŵ ƚŚĞ &/ ŚĂǀĞ ŝŶĐůƵĚĞĚ ŚĞĂůƚŚ ĐĂƌĞ
             ĨƌĂƵĚ͕ ŵŽƌƚŐĂŐĞ ĨƌĂƵĚ͕ ĐŽƌƉŽƌĂƚĞ ĨƌĂƵĚ͕ ŝŶƐƵƌĂŶĐĞ
             ĨƌĂƵĚ͕ ĂĐĐŝĚĞŶƚ ŝŶǀĞƐƚŝŐĂƚŝŽŶƐ͕ ďĂĐŬŐƌŽƵŶĚ
             ŝŶǀĞƐƚŝŐĂƚŝŽŶƐ ĨŽƌ ƉŽůŝĐĞ ĂƉƉůŝĐĂŶƚƐ͕ ďĂĐŬŐƌŽƵŶĚ
             ŝŶǀĞƐƚŝŐĂƚŝǀĞ ŝŶƚĞƌǀŝĞǁƐ ŽĨ ƉŽůŝĐĞ ĐŚŝĞĨ ĐĂŶĚŝĚĂƚĞƐ͕
             ŝŶǀĞƐƚŝŐĂƚŝǀĞ ŝŶƚĞƌǀŝĞǁƐ ĨŽƌ ĂƚƚŽƌŶĞǇƐ͕ ƐƵƌǀĞŝůůĂŶĐĞ ĂŶĚ
             ĞǆĞĐƵƚŝǀĞ ƉƌŽƚĞĐƚŝŽŶ͘ tƌŝƚĞƌ ŝƐ ĂůƐŽ ƚŚĞ ĐŽŶƚƌĂĐƚ
             ƐƉĞĐŝĂů ŝŶǀĞƐƚŝŐĂƚŽƌ ĨŽƌ ƚŚĞ ,ŝůůƐďŽƌŽƵŐŚ ŽƵŶƚǇ
             ƚƚŽƌŶĞǇ͛Ɛ KĨĨŝĐĞ ĂŶĚ ƚŚĞ ,ŝůůƐďŽƌŽƵŐŚ ŽƵŶƚǇ
             ĚŵŝŶŝƐƚƌĂƚŽƌ͛Ɛ KĨĨŝĐĞ͘

       ϭϬ͘ WĞĂŬ ƌĞĚŝďŝůŝƚǇ ƐƐĞƐƐŵĞŶƚ dƌĂŝŶŝŶŐ ĞŶƚĞƌ͕ ĂƉĞ
          ŽƌĂů͕ &>͗ Ɖƌŝů ϮϬϭϲ ƚŽ ƉƌĞƐĞŶƚ͕ ^ĞŶŝŽƌ WŽůǇŐƌĂƉŚ
          /ŶƐƚƌƵĐƚŽƌ ŝŶ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ĂŶĚ ĂďƌŽĂĚ͕ ƚĞĂĐŚŝŶŐ ďĂƐŝĐ
          ĂŶĚ ĂĚǀĂŶĐĞĚ ĐůĂƐƐĞƐ͘ WĞĂŬ ƌĞĚŝďŝůŝƚǇ ƐƐĞƐƐŵĞŶƚ
          dƌĂŝŶŝŶŐ ĞŶƚĞƌ ŝƐ ĂĐĐƌĞĚŝƚĞĚ ďǇ ƚŚĞ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ
          ƐƐŽĐŝĂƚŝŽŶ ĂŶĚ ŝƐ ƌĞĐŽŐŶŝǌĞĚ ďǇ ƚŚĞ ŵĞƌŝĐĂŶ
          ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůŝĐĞ WŽůǇŐƌĂƉŚŝƐƚƐ͘

       ϭϭ͘ ĐĂĚĞŵǇ ŽĨ WŽůǇŐƌĂƉŚ ^ĞƌǀŝĐĞƐ͕ &Žƌƚ DǇĞƌƐ͕ &>͗ :ƵŶĞ
             ϮϬϭϮ ƚŚƌŽƵŐŚ DĂƌĐŚ ϮϬϭϲ͕ ƉƌŝŵĂƌǇ ŝŶƐƚƌƵĐƚŽƌ ŝŶ ƚŚĞ
          hŶŝƚĞĚ ^ƚĂƚĞƐ ĂŶĚ ĂďƌŽĂĚ͘ dŚĞ ĐĂĚĞŵǇ ŽĨ WŽůǇŐƌĂƉŚ
          ^ĐŝĞŶĐĞ ŝƐ ĂĐĐƌĞĚŝƚĞĚ ďǇ ƚŚĞ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ
          ƐƐŽĐŝĂƚŝŽŶ ĂƐ ǁĞůů ĂƐ ďĞŝŶŐ ƌĞĐŽŐŶŝǌĞĚ ďǇ ƚŚĞ ŵĞƌŝĐĂŶ
          ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůŝĐĞ WŽůǇŐƌĂƉŚŝƐƚƐ͘

       ϭϮ͘ ͲŵĞƌŐŝŶŐ dĞĐŚŶŽůŽŐŝĞƐ 'ƌŽƵƉ͕ ZĞƐƚŽŶ͕ sŝƌŐŝŶŝĂ͗ :ƵŶĞ
           ϭϱ͕ ϮϬϭϰ ƚŽ ĞĐĞŵďĞƌ ϮϬϭϰ͕ ĐŽŶƚƌĂĐƚ ƉŽůǇŐƌĂƉŚ
           ĞǆĂŵŝŶĞƌ ĨŽƌ ƚŚĞ hŶŝƚĞĚ ^ƚĂƚĞƐ ĞĨĞŶƐĞ /ŶƚĞůůŝŐĞŶĐĞ
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           ŐĞŶĐǇ ;/Ϳ ǁŝƚŚ Ă dŽƉ ^ĞĐƌĞƚͬ^/ ƐĞĐƵƌŝƚǇ ĐůĞĂƌĂŶĐĞ͘
                                 //
 WK>z'ZW, dZ/E/E' E KEd/Eh/E' hd/KE
    ϭ͘ ĂƐŝĐ &ŽƌĞŶƐŝĐ WƐǇĐŚŽƉŚǇƐŝŽůŽŐǇͬWŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌ ĐŽƵƌƐĞ͕ ĞƉĂƌƚŵĞŶƚ ŽĨ
       ĞĨĞŶƐĞ WŽůǇŐƌĂƉŚ /ŶƐƚŝƚƵƚĞ ;ůĂƚĞƌ ŶĂŵĞĚ ĞĨĞŶƐĞ ĐĂĚĞŵǇ ŽĨ ƌĞĚŝďŝůŝƚǇ
       ƐƐĞƐƐŵĞŶƚͬŶŽǁ ŶĂŵĞĚ EĂƚŝŽŶĂů ĞŶƚĞƌ ĨŽƌ ƌĞĚŝďŝůŝƚǇ ƐƐĞƐƐŵĞŶƚͿ͕ &Žƌƚ
       DĐůĞůůĂŶ͕ ůĂďĂŵĂ͕ :ĂŶƵĂƌǇ ʹ Ɖƌŝů ϭϵϵϵ͘ dŚŝƐ ǁĂƐ Ă ĨŽƵƌƚĞĞŶͲǁĞĞŬ ĐŽƵƌƐĞ
       ĨŽĐƵƐŝŶŐ ŽŶ ƉŚǇƐŝŽůŽŐǇ͕ ƉƐǇĐŚŽůŽŐǇ͕ ƉŽůǇŐƌĂƉŚ ŚŝƐƚŽƌǇ ĂŶĚ ƚŚĞŽƌǇ͕ ĐŚĂƌƚ
       ŝŶƚĞƌƉƌĞƚĂƚŝŽŶ͕ ĐŽŶĚƵĐƚŝŶŐ ĞǆĂŵŝŶĂƚŝŽŶƐ͕ ŝŶƐƚƌƵŵĞŶƚĂƚŝŽŶ͕ ŝŶƚĞƌǀŝĞǁ ĂŶĚ
       ŝŶƚĞƌƌŽŐĂƚŝŽŶ ĂŶĚ ŽƚŚĞƌ ƌĞůĂƚĞĚ ƉŽůǇŐƌĂƉŚ ƐƚƵĚŝĞƐ͘

    Ϯ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ Ɖƌŝů ϮϳͲϮϵ͕ ϭϵϵϵ ;Ϯϰ ŚŽƵƌƐ
       ƚƌĂŝŶŝŶŐͿ͘

    ϯ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ :ƵůǇ ϭϬͲϭϰ͕ ϮϬϬϬ ;ϰϬ ŚŽƵƌƐ
       ƚƌĂŝŶŝŶŐͿ͘

    ϰ͘ &/ WŽůǇŐƌĂƉŚ dƌĂŝŶŝŶŐ ĂŶĚ ĞƌƚŝĨŝĐĂƚŝŽŶ͕ ^ĞƉƚĞŵďĞƌ ϭϵͲϮϬ͕ ϮϬϬϬ͘ ŝŐŚƚ ŚŽƵƌƐ ŽĨ
       ƚƌĂŝŶŝŶŐ ĂŶĚ &/ ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĞƌ ĐĞƌƚŝĨŝĐĂƚŝŽŶ ĂǁĂƌĚĞĚ͘

    ϱ͘ &ĞĚĞƌĂů /ŶƚĞƌĂŐĞŶĐǇ ƉŽůǇŐƌĂƉŚ ^ĞŵŝŶĂƌ͕ &/ ĐĂĚĞŵǇ͕ :ƵŶĞ ϭϴͲϮϮ͕ ϮϬϬϭ ;ϰϬ
       ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϲ͘ &/ WŽůǇŐƌĂƉŚ hŶŝƚ /ŶͲƐĞƌǀŝĐĞ dƌĂŝŶŝŶŐ͕ &/ ĐĂĚĞŵǇ͕ DĂƌĐŚ ϭϮͲϭϰ͕ ϮϬϬϮ ;Ϯϰ
       ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϳ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ Ɖƌŝů ϮϭͲϮϲ͕ ϮϬϬϮ ;Ϯϰ ŚŽƵƌƐ
       ƚƌĂŝŶŝŶŐͿ͘

    ϴ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ Ɖƌŝů ϭϯͲϭϴ͕ ϮϬϬϯ ;Ϯϰ ŚŽƵƌƐ
       ƚƌĂŝŶŝŶŐͿ͘

    ϵ͘ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ;WͿ ŶŶƵĂů ^ĞŵŝŶĂƌͬtŽƌŬƐŚŽƉ͕ ƵŐƵƐƚ ϯͲϴ͕
       ϮϬϬϯ ;Ϯϳ͘ϳϱ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϭϬ͘ / hŶŝǀĞƌƐŝƚǇ͕ ƌŽƐƐͲƵůƚƵƌĂů dƌĂŝŶŝŶŐ͕ Ɖƌŝů ϮϮͲϮϯ͕ ϮϬϬϰ ;ϭϳ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϭϭ͘ ĞƉĂƌƚŵĞŶƚ ŽĨ ĞĨĞŶƐĞ ƉŽůǇŐƌĂƉŚ /ŶƐƚŝƚƵƚĞ ƚƌĂŶƐŝƚŝŽŶ ĐŽƵƌƐĞ ĨƌŽŵ ĂŶĂůŽŐ ƚŽ
        ĐŽŵƉƵƚĞƌŝǌĞĚ ŝŶƐƚƌƵŵĞŶƚ͕ DĂǇ ϰͲϱ͕ ϮϬϬϰ ;ϭϲ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘
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    ϭϮ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ :ƵŶĞ ϭϰͲϭϴ͕ ϮϬϬϰ ;Ϯϰ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    ϭϯ͘ ƌŝƚŝĐĂů /ŶĐŝĚĞŶƚ ZĞƐƉŽŶƐĞ 'ƌŽƵƉ ;/Z'Ϳ EĂƚŝŽŶĂů ĞŶƚĞƌ &Žƌ dŚĞ ŶĂůǇƐŝƐ ŽĨ
        sŝŽůĞŶƚ ƌŝŵĞ ĞŚĂǀŝŽƌĂů ŶĂůǇƐŝƐ ƵŶŝƚ ;hͿ /ŶƚĞƌǀŝĞǁ ĂŶĚ /ŶƚĞƌƌŽŐĂƚŝŽŶ ŽĨ
        /ƐůĂŵŝĐ ǆƚƌĞŵŝƐƚƐ tŽƌŬŝŶŐ 'ƌŽƵƉ͕ EŽǀĞŵďĞƌ ϭϲͲϭϳ͕ ϮϬϬϰ ;ϭϲ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϭϰ͘ &/ DŝĚͲƚůĂŶƚŝĐ ZĞŐŝŽŶ WŽůǇŐƌĂƉŚ EĞĂƌ ĂƐƚ /ŶƚĞƌǀŝĞǁ ĂŶĚ ŝŶƚĞƌƌŽŐĂƚŝŽŶ
        tŽƌŬƐŚŽƉ͕ ĞĐĞŵďĞƌ ϭͲϮ͕ ϮϬϬϰ ;ϭϲ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϭϱ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ :ƵŶĞ ϮϳͲ:ƵůǇ ϭ͕ ϮϬϬϱ ;Ϯϰ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    ϭϲ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ DĂǇ ϮϮͲϮϲ͕ ϮϬϬϲ ;Ϯϰ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    ϭϳ͘ &/ >ĂĨĂǇĞƚƚĞ >y ϰϬϬϬ ŽŶǀĞƌƐŝŽŶ dƌĂŝŶŝŶŐ͕ &/,Y͕ :ĂŶƵĂƌǇ ϭϮͲϭϲ͕ ϮϬϬϳ ;ϰϬ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    ϭϴ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ :ƵŶĞ ϭϭͲϭϱ͕ ϮϬϬϳ ;Ϯϰ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    ϭϵ͘ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ;WͿ ϰϮŶĚ ŶŶƵĂů ^ĞŵŝŶĂƌ͕ EĞǁ KƌůĞĂŶƐ͕
        >ŽƵŝƐŝĂŶĂ͕ ƵŐƵƐƚ ϮϬͲϮϰ͕ ϮϬϬϳ ;ϯϳ͘ϱ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϮϬ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ :ƵŶĞ ϭϲͲϮϬ͕ ϮϬϬϴ ;ϯϯ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    Ϯϭ͘ &/ WŽůǇŐƌĂƉŚ ůĞĐƚƌŽŶŝĐ ^ŝŐŶĂƚƵƌĞ ƚƌĂŝŶŝŶŐ͕ &/,Y͕ KĐƚŽďĞƌ ϮϮͲϮϯ͕ ϮϬϬϴ ;ϭϲ
        ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    ϮϮ͘ &/ ŶŶƵĂů WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ŽŶĨĞƌĞŶĐĞ͕ :ƵŶĞ ϮϮͲϮϲ͕ ϮϬϬϵ ;ϯϯ ŚŽƵƌƐ
        ƚƌĂŝŶŝŶŐͿ͘

    Ϯϯ͘ /ƐƌĂĞůŝ ^ĞĐƵƌŝƚǇ ^ĞƌǀŝĐĞ ŽƵŶƚĞƌ dĞƌƌŽƌŝƐŵ ^ĞŵŝŶĂƌ͕ dĞů ǀŝǀ ĂŶĚ ƚŚƌŽƵŐŚŽƵƚ
        /ƐƌĂĞů͕ EŽǀĞŵďĞƌ Ϯϵ ʹ ĞĐĞŵďĞƌ ϭϬ͕ ϮϬϬϵ ;ϴϬ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐ ʹ ůƐŽ ƐĞƌǀĞĚ ĂƐ
        ,ĞĂĚ ŽĨ ĞůĞŐĂƚŝŽŶ ĨŽƌ &/Ϳ͘

    Ϯϰ͘ ĞƉĂƌƚŵĞŶƚ ŽĨ ĞĨĞŶƐĞ ŽƵŶƚĞƌŵĞĂƐƵƌĞƐ ŽŵƉƌĞŚĞŶƐŝǀĞ ŽƵƌƐĞ͕ >ŝŶƚŚŝĐƵŵ͕
        DĂƌǇůĂŶĚ͕ KĐƚŽďĞƌ ϰͲϴ͕ ϮϬϭ ;ϰϬ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐͿ͘

    Ϯϱ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ dƌĂŝŶŝŶŐ ^ĞŵŝŶĂƌ͕ DĞůďŽƵƌŶĞ ĞĂĐŚ͕ &ůŽƌŝĚĂ͕ :ƵŶĞ
        ϯͲϱ͕ ϮϬϭϭ ;ϭϴ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘
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    Ϯϲ͘ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ϰϳƚŚ ŶŶƵĂů ^ĞŵŝŶĂƌ ĂŶĚ tŽƌŬƐŚŽƉ͕ ^ĞƉƚĞŵďĞƌ
        ϭϭͲϭϲ͕ ϮϬϭϭ͕ ƵƐƚŝŶ͕ dĞǆĂƐ ;ϯϳ͘ϱ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    Ϯϳ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ZĂŶĚĂůů :ŽŶĞƐ ^ĐŚŽŽů ĨŽƌ ŽŶƚŝŶƵŝŶŐ ^ƚƵĚŝĞƐ
        ƚƌĂŝŶŝŶŐ ƐĞŵŝŶĂƌ ŽĨ ϭϲ ŚŽƵƌƐ ƉĞƌƚĂŝŶŝŶŐ ƚŽ ƚŚĞ ƐƚƵĚǇ ŽĨ ĚǀĂŶĐĞĚ WŽůǇŐƌĂƉŚ
        dĞĐŚŶŝƋƵĞƐ Ăƚ ůĞĂƌǁĂƚĞƌ ĞĂĐŚ͕ &ůŽƌŝĚĂ͕ :ƵŶĞ ϭͲϮ͕ ϮϬϭϮ͘ ;ϭϲ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ

    Ϯϴ͘ ĐĂĚĞŵǇ ŽĨ WŽůǇŐƌĂƉŚ ^ĐŝĞŶĐĞ͕ &Žƌƚ DǇĞƌƐ͕ &ůŽƌŝĚĂ͖ ǆĂŵŝŶĞƌ ZĞĨƌĞƐŚĞƌ
        ŽƵƌƐĞͬ^ĞŶŝŽƌ ǆĂŵŝŶĞƌ ŽƵƌƐĞ͕ EŽǀĞŵďĞƌ ϮϲͲϯϬ͕ ϮϬϭϮ͖ ϰϬ ŚŽƵƌƐ ƚƌĂŝŶŝŶŐ͘

    Ϯϵ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ZĂŶĚĂůů :ŽŶĞƐ ^ĐŚŽŽů ĨŽƌ ŽŶƚŝŶƵŝŶŐ ^ƚƵĚŝĞƐ
        ƚƌĂŝŶŝŶŐ ƐĞŵŝŶĂƌ ŝŶ >ĂŬĞ DĂƌǇ͕ &ůŽƌŝĚĂ͕ :ƵŶĞ ϮϭͲϮϯ͕ ϮϬϭϯ ;ϭϴ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϯϬ͘ ͲŵĞƌŐŝŶŐ dĞĐŚŶŽůŽŐŝĞƐ 'ƌŽƵƉ Ăƚ ĞĨĞŶƐĞ /ŶƚĞůůŝŐĞŶĐĞ ŐĞŶĐǇ ;/Ϳ͕ ZĞƐƚŽŶ͕
        sŝƌŐŝŶŝĂ͖ ŽƌŝĞŶƚĂƚŝŽŶ ƚƌĂŝŶŝŶŐ ĨŽƌ ĐŽŶƚƌĂĐƚ ƉŽůǇŐƌĂƉŚ ǁŽƌŬ ĨŽƌ /͕ :ƵŶĞ ϮϱͲϮϳ͕
        ϮϬϭϰ ;Ϯϰ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϯϭ͘ ĐĂĚĞŵǇ ŽĨ WŽůǇŐƌĂƉŚ ^ĐŝĞŶĐĞ͕ &Žƌƚ DǇĞƌƐ͕ &ůŽƌŝĚĂ͖ ^ĞƉƚĞŵďĞƌ ϮϱͲϮϲ͕ ϮϬϭϰ ʹ ϰ
        ŚŽƵƌƐ ŽĨ ĚǀĂŶĐĞĚ ŽƵŶƚĞƌŵĞĂƐƵƌĞƐ ƚƌĂŝŶŝŶŐ ĂŶĚ ϭϮ ŚŽƵƌƐ ŽĨ ĚǀĂŶĐĞĚ WŽƐƚ
        ŽŶǀŝĐƚŝŽŶ ^Ğǆ KĨĨĞŶĚĞƌ dƌĂŝŶŝŶŐ͕ WƐǇĐŚŽůŽŐǇ ŽĨ Ă ^Ğǆ KĨĨĞŶĚĞƌ ;ϭϲ ŚŽƵƌƐ ƚŽƚĂůͿ͘


    ϯϮ͘ ĐĂĚĞŵǇ ŽĨ WŽůǇŐƌĂƉŚ ^ĐŝĞŶĐĞ͕ &Žƌƚ DǇĞƌƐ͕ &ůŽƌŝĚĂ͗ DĂƌĐŚ ϮϱͲϮϲ͕ ϮϬϭϱ ʹ
        ĚǀĂŶĐĞĚ ƐƚƵĚŝĞƐ ŝŶ ǀĂƌŝŽƵƐ ĂƐƉĞĐƚƐ ŽĨ ƉŽůǇŐƌĂƉŚ ;ϭϴ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘


    ϯϯ͘ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ϱϭƐƚ ŶŶƵĂů ^ĞŵŝŶĂƌͬtŽƌŬƐŚŽƉ ŝŶ ĂůƚŝŵŽƌĞ͕ DĂƌǇůĂŶĚ͕
        ƵŐƵƐƚ Ϯϴ ʹ ^ĞƉƚĞŵďĞƌ Ϯ͕ ϮϬϭϲ ;ϯϱ͘ϳϱ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘


    ϯϰ͘ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ϱϮŶĚ ŶŶƵĂů ^ĞŵŝŶĂƌͬtŽƌŬƐŚŽƉ ŝŶ >ĂƐ sĞŐĂƐ͕ EĞǀĂĚĂ͕
        ƵŐƵƐƚ Ϯϴ ʹ ^ĞƉƚĞŵďĞƌ ϭ͕ ϮϬϭϳ ;Ϯϱ͘ϳϱ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘


    ϯϱ͘ WĞĂŬ ƌĞĚŝďŝůŝƚǇ ƐƐĞƐƐŵĞŶƚ dƌĂŝŶŝŶŐ ĞŶƚĞƌ͕ WŽƐƚ ŽŶǀŝĐƚŝŽŶ ^Ğǆ KĨĨĞŶĚĞƌ dĞƐƚŝŶŐ
        ŽƵƌƐĞ͕ ĂƉĞ ŽƌĂů͕ &>͕ DĂƌĐŚ ϭϵͲϮϯ͕ ϮϬϭϴ ;ϰϬ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘


    ϯϲ͘ dŚĞ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ƐƚƵĚǇ ŽĨ ĚǀĂŶĐĞĚ WŽůǇŐƌĂƉŚ dĞĐŚŶŝƋƵĞƐ
        ^ĞŵŝŶĂƌ͕ >ĂŬĞ DĂƌǇ͕ &ůŽƌŝĚĂ͕ EŽǀĞŵďĞƌ ϭϲͲϭϴ͕ ϮϬϭϴ ;ϭϴ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘
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    ϯϳ͘ dŚĞ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ZĂŶĚĂůů :ŽŶĞƐ ^ĐŚŽŽů ĨŽƌ ŽŶƚŝŶƵŝŶŐ ^ƚƵĚŝĞƐ ŽĨ
        ĚǀĂŶĐĞĚ WŽůǇŐƌĂƉŚ dĞĐŚŶŝƋƵĞƐ dƌĂŝŶŝŶŐ ^ĞŵŝŶĂƌ͕ ĂǇƚŽŶĂ ĞĂĐŚ͕ &ůŽƌŝĚĂ͕ :ƵŶĞ
        ϳͲϵ͕ ϮϬϭϵ ;ϭϰ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϯϴ͘ dŚĞ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ϱϰƚŚ ŶŶƵĂů ^ĞŵŝŶĂƌͬtŽƌŬƐŚŽƉ ŝŶ KƌůĂŶĚŽ͕
        &>͘ ƵŐƵƐƚ ϮϲͲϯϬ͕ ϮϬϭϵ ;ϯϮ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϯϵ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ dƌĂŝŶŝŶŐ ^ĞŵŝŶĂƌ͕ DĞůďŽƵƌŶĞ ĞĂĐŚ͕ &ůŽƌŝĚĂ͕ :ƵŶĞ
        ϭϭͲϭϯ͕ ϮϬϮϭ ;ϭϴ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϰϬ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ dƌĂŝŶŝŶŐ ^ĞŵŝŶĂƌ͕ &Žƌƚ >ĂƵĚĞƌĚĂůĞ͕ &ůŽƌŝĚĂ͕
        KĐƚŽďĞƌ ϮϮͲϮϰ͕ ϮϬϮϭ ;ϭϴ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϰϭ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ^ĞŵŝŶĂƌ͕ KƌůĂŶĚŽ͕ &ůŽƌŝĚĂ͕ :ƵŶĞ ϭϬͲϭϮ͕ ϮϬϮϮ ;ϭϴ
        ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϰϮ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ^ĞŵŝŶĂƌ͕ KƌůĂŶĚŽ͕ &ůŽƌŝĚĂ͕ EŽǀĞŵďĞƌ ϭϲͲϭϵ͕ ϮϬϮϯ
        ;Ϯϲ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

    ϰϯ͘ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ^ĞŵŝŶĂƌ͕ ĂǇƚŽŶĂ ĞĂĐŚ͕ &>͕ EŽǀĞŵďĞƌ ϮϬͲϮϰ͕
        ϮϬϮϰ ;Ϯϲ ŚŽƵƌƐ ŽĨ ƚƌĂŝŶŝŶŐͿ͘

                                      ///


           WZK&^^/KE> yWZ/E E ^^K/d/KE^


               ϭ͘ ĞƌƚŝĨŝĞĚ &/ WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌ͕ ϭϵϵϵ ʹ ϮϬϭϭ͘

               Ϯ͘ WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌ ĂŶĚ WŽůǇŐƌĂƉŚ ŽŽƌĚŝŶĂƚŽƌ ĨŽƌ ƚŚĞ ĂůƚŝŵŽƌĞ͕
                  DĂƌǇůĂŶĚ &/ ŽĨĨŝĐĞ͕ ϭϵϵϵ ʹ ϮϬϬϱ͘ ŽŶĚƵĐƚĞĚ ĞǆĂŵŝŶĂƚŝŽŶƐ ŝŶ Ăůů
                  ĂƌĞĂƐ ŽĨ &/ ƌĞƐƉŽŶƐŝďŝůŝƚǇ͕ ŝŶĐůƵĚŝŶŐ ĂƉƉůŝĐĂŶƚ ƐĐƌĞĞŶŝŶŐ͕ ƐĞĐƵƌŝƚǇ
                  ĞǆĂŵŝŶĂƚŝŽŶƐ ŽĨ ŽŶͲďŽĂƌĚ ĞŵƉůŽǇĞĞƐ͕ ĐƌŝŵŝŶĂů ŵĂƚƚĞƌƐ͕ ĨŽƌĞŝŐŶ
                  ĐŽƵŶƚĞƌͲŝŶƚĞůůŝŐĞŶĐĞ͕ ĐŽƵŶƚĞƌ ƚĞƌƌŽƌŝƐŵ͕ ǁŝƚŶĞƐƐ ƉƌŽƚĞĐƚŝŽŶ͕ KĨĨŝĐĞ ŽĨ
                  WƌŽĨĞƐƐŝŽŶĂů ZĞƐƉŽŶƐŝďŝůŝƚǇ ;ŝŶƚĞƌŶĂů ĂĨĨĂŝƌƐͿ ĂŶĚ ƉŽůǇŐƌĂƉŚ ĞǆĂŵƐ
                  ĐŽŶĚƵĐƚĞĚ ĂďƌŽĂĚ ŝŶǀŽůǀŝŶŐ ĐƌŝŵŝŶĂů͕ ŝŶƚĞůůŝŐĞŶĐĞ͕ ƚĞƌƌŽƌŝƐŵ ĂŶĚ
                  ǀĞƚƚŝŶŐ ĞǆĂŵƐ ŽĨ ĨŽƌĞŝŐŶ ƉŽůŝĐĞ͕ ƉƌŽƐĞĐƵƚŽƌƐ͕ ũƵĚŐĞƐ ĂŶĚ ƉƌŝƐŽŶ
                  ŽĨĨŝĐŝĂůƐ͘ ůƐŽ ĐŽŽƌĚŝŶĂƚĞĚ ĞǆĂŵƐ ĨŽƌ ĨŽƵƌ ŽƚŚĞƌ ĞǆĂŵŝŶĞƌƐ ĂŶĚ ŵǇƐĞůĨ
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                ĂŶĚ ƉƌŽǀŝĚĞĚ ĨŝĞůĚ ƚƌĂŝŶŝŶŐ͕ ĐĞƌƚŝĨŝĐĂƚŝŽŶ ĂŶĚ ŵĞŶƚŽƌŝŶŐ ŽĨ ŶĞǁ
                ĞǆĂŵŝŶĞƌƐ͘ ůƐŽ ƉĞƌŝŽĚŝĐĂůůǇ ƐĞƌǀĞĚ ŝŶ Ă ƚĞŵƉŽƌĂƌǇ ĚƵƚǇ ƐƚĂƚƵƐ Ăƚ
                &/,Y ŝŶ ƚŚĞ WŽůǇŐƌĂƉŚ hŶŝƚ ĐŽŶĚƵĐƚŝŶŐ ĞǆĂŵƐ ĂŶĚ ĚŽŝŶŐ ƋƵĂůŝƚǇ
                ĐŽŶƚƌŽů ƌĞǀŝĞǁ ŽĨ ĨŝĞůĚ ĞǆĂŵƐ ƐƵďŵŝƚƚĞĚ ďǇ ŽƚŚĞƌ ĞǆĂŵŝŶĞƌƐ͘

             ϯ͘ WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌ ĂŶĚ ĐŽŽƌĚŝŶĂƚŽƌ ĨŽƌ ƚŚĞ dĂŵƉĂ͕ &ůŽƌŝĚĂ &/ ŽĨĨŝĐĞ͘
                ZĞĐĞŝǀĞĚ ƚƌĂŶƐĨĞƌ ƚŽ dĂŵƉĂ ĨŽƌ ƚŚĞ ƉƵƌƉŽƐĞ ŽĨ ĂƐƐƵŵŝŶŐ
                ƌĞƐƉŽŶƐŝďŝůŝƚǇ ĨŽƌ ƚŚĞ ƉŽůǇŐƌĂƉŚ ƉƌŽŐƌĂŵ ƚŚĞƌĞ͘ WĞƌĨŽƌŵĞĚ ƚŚĞ ƐĂŵĞ
                ĚƵƚŝĞƐ ĂƐ ĚĞƐĐƌŝďĞĚ ĂďŽǀĞ ŝŶ ƚŚĞ ĂůƚŝŵŽƌĞ ŽĨĨŝĐĞ͘ /Ŷ ďŽƚŚ ůŽĐĂƚŝŽŶƐ
                ŵĂŝŶƚĂŝŶĞĚ ŚŝŐŚ ůĞǀĞůƐ ŽĨ ĞǆĂŵ ƋƵĂůŝƚǇ ĂŶĚ ĂĚŵŝƐƐŝŽŶͬĐŽŶĨĞƐƐŝŽŶ
                ƌĂƚĞƐ ǁŚŝůĞ ĐŽŶĚƵĐƚŝŶŐ ŽǀĞƌ Ϯ͕ϯϬϬ ĞǆĂŵƐ ĨŽƌ ƚŚĞ &/͘

             ϰ͘ KǁŶĞƌ͕ dĂŵƉĂ WŽůǇŐƌĂƉŚ ^ĞƌǀŝĐĞƐ͕ >>͕ ϮϬϭϭ ƚŽ ƉƌĞƐĞŶƚ͘ ,ĂǀĞ
                ĐŽŶĚƵĐƚĞĚ ĂƉƉƌŽǆŝŵĂƚĞůǇ ϭ͕ϬϬϬ ĞǆĂŵƐ ĨŽƌ ƉƌŝǀĂƚĞ ĂƚƚŽƌŶĞǇƐ͕ ƉƵďůŝĐ
                ĚĞĨĞŶĚĞƌƐ͕ ůĂǁ ĞŶĨŽƌĐĞŵĞŶƚ͕ ƉƌŝǀĂƚĞ ĐŽŵƉĂŶŝĞƐ͕ ƉƌŝǀĂƚĞ ŝŶĚŝǀŝĚƵĂůƐ͕
                ŵŝůŝƚĂƌǇ ĐŽŶƚƌĂĐƚŽƌƐ͕ ĂŶĚ ŝŶƚĞƌŶĂƚŝŽŶĂů ƐĞĐƵƌŝƚǇ ĐŽŶƐƵůƚŝŶŐ ĨŝƌŵƐ͘
                ǆĂŵƐ ĐŽŶĚƵĐƚĞĚ ŝŶ ĂůŝĨŽƌŶŝĂ͕ &ůŽƌŝĚĂ͕ 'ĞŽƌŐŝĂ͕ WĞŶŶƐǇůǀĂŶŝĂ͕
                tĂƐŚŝŶŐƚŽŶ͕ ͘͕͘ ƌŐĞŶƚŝŶĂ͕ ŽůŽŵďŝĂ ;^ƉĂŶŝƐŚ ŝŶƚĞƌƉƌĞƚĞƌƐͿ͕ ŽƐƚĂ
                ZŝĐĂ͕ ŽŵŝŶŝĐĂŶ ZĞƉƵďůŝĐ ;^ƉĂŶŝƐŚ ŝŶƚĞƌƉƌĞƚĞƌͿ͕ ĐƵĂĚŽƌ ;^ƉĂŶŝƐŚ
                ŝŶƚĞƌƉƌĞƚĞƌͿ͕ ,Ăŝƚŝ ;ƵƐŝŶŐ ƌĞŽůĞ ŝŶƚĞƌƉƌĞƚĞƌͿ ĂŶĚ WĂŶĂŵĂ͘ ,ĂǀĞ
                ĐŽŶĚƵĐƚĞĚ ǁĞůů ŽǀĞƌ ϯ͕ϮϬϬ ƉŽůǇŐƌĂƉŚ ĞǆĂŵƐ͘

             ϱ͘ WƌŝŵĂƌǇ /ŶƐƚƌƵĐƚŽƌ͕ ĐĂĚĞŵǇ ŽĨ WŽůǇŐƌĂƉŚ ^ĐŝĞŶĐĞ͕ &Žƌƚ DǇĞƌƐ͕
                &ůŽƌŝĚĂ͕ ĂŶ W ĂŶĚ WW ĂĐĐƌĞĚŝƚĞĚ ƐĐŚŽŽů͕ ϮϬϭϮ ƚŽ ϮϬϭϲ͘

             ϲ͘ ^ĞŶŝŽƌ WŽůǇŐƌĂƉŚ /ŶƐƚƌƵĐƚŽƌ Ăƚ WĞĂŬ ƌĞĚŝďŝůŝƚǇ ƐƐĞƐƐŵĞŶƚ dƌĂŝŶŝŶŐ
                ĞŶƚĞƌ͕ ĂƉĞ ŽƌĂů͕ &ůŽƌŝĚĂ͕ ĂŶ W ĂŶĚ WW ĂĐĐƌĞĚŝƚĞĚ ƐĐŚŽŽů͘ Dƌ͘
                Kƌƌ ŚĂƐ ďĞĞŶ Ă ŐƵĞƐƚ ůĞĐƚƵƌĞƌ Ăƚ ƚŚĞ hŶŝǀĞƌƐŝƚǇ ŽĨ ĂůƚŝŵŽƌĞ ^ĐŚŽŽů ŽĨ
                >Ăǁ͕ ^ƚĞƚƐŽŶ hŶŝǀĞƌƐŝƚǇ >Ăǁ ^ĐŚŽŽů͕ ƚŚĞ hŶŝǀĞƌƐŝƚǇ ŽĨ ^ŽƵƚŚ &ůŽƌŝĚĂ
                &ŽƌĞŶƐŝĐ WƐǇĐŚŽůŽŐǇ ĐŽƵƌƐĞ͕ ƚŚĞ ŵĞƌŝĐĂŶ ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůŝĐĞ
                WŽůǇŐƌĂƉŚŝƐƚƐ ĂŶŶƵĂů ƐĞŵŝŶĂƌ ŝŶ >ŽƵŝƐǀŝůůĞ͕ <ĞŶƚƵĐŬǇ͕ dŚĞ ƌŝǌŽŶĂ
                WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ĂŶŶƵĂů ƉŽůǇŐƌĂƉŚ ƐĞŵŝŶĂƌ ŝŶ WŚŽĞŶŝǆ͕ ƚŚĞ
                ĂůŝĨŽƌŶŝĂ ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůǇŐƌĂƉŚ ǆĂŵŝŶĞƌƐ ĂŶŶƵĂů ƐĞŵŝŶĂƌ ŝŶ ^ĂŶ
                ŝĞŐŽ͕ ĂůŝĨŽƌŶŝĂ͕ ƚŚĞ ĂŶĂĚŝĂŶ ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůŝĐĞ WŽůǇŐƌĂƉŚŝƐƚƐ ŝŶ
                KƚƚĂǁĂ͕ ĂŶĂĚĂ͕ ƚŚĞ ĞĂĚǁŽŽĚ͕ ^ŽƵƚŚ ĂŬŽƚĂ ZĞŐŝŽŶĂů WŽůǇŐƌĂƉŚ
                ^ĞŵŝŶĂƌ͕ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ƐĞŵŝŶĂƌƐ͕ ƚŚĞ 'ůŽďĂů
                WŽůǇŐƌĂƉŚ EĞƚǁŽƌŬ ƐĞŵŝŶĂƌ ŝŶ ƵĨĨĂůŽ͕ EĞǁ zŽƌŬ͕ ƚŚĞ /ŶĚŝĂŶĂ
                WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ĂŶŶƵĂů ƐĞŵŝŶĂƌ ŝŶ /ŶĚŝĂŶĂƉŽůŝƐ͕ ƚŚĞ DŝƐƐŝƐƐŝƉƉŝ
                WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ĂŶŶƵĂů ƐĞŵŝŶĂƌ ŝŶ KǆĨŽƌĚ͕ DŝƐƐŝƐƐŝƉƉŝ͕ ƚŚĞ dƌŝͲ
                ^ƚĂƚĞ ^ĞŵŝŶĂƌ ŝŶ 'ƌĞĞŶǀŝůůĞ͕ ^͘ ͕͘ ƚŚĞ hƚĂŚ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ ĂŶĚ
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                          ƚĂƵŐŚƚ Ă ϰϬ ŚŽƵƌ ŝŶƚĞƌǀŝĞǁ ĂŶĚ /ŶƚĞƌƌŽŐĂƚŝŽŶ ĐŽƵƌƐĞ ƚŽ ƚŚĞ :ĂŵĂŝĐĂŶ
                          EĂƚŝŽŶĂů ŽŶƐƚĂďƵůĂƌǇ͛Ɛ >ŽƚƚĞƌǇ ^ĐĂŵ dĂƐŬ &ŽƌĐĞ ŝŶ DŽŶƚĞŐŽ ĂǇ ĨŽƌ
                          ƚŚĞ h͘^͘ ĞƉĂƌƚŵĞŶƚ ŽĨ ^ƚĂƚĞ ĂŶĚ ƚĂƵŐŚƚ ďĂƐŝĐ ƉŽůǇŐƌĂƉŚ ĐŽƵƌƐĞ ĨŽƌ
                          hŬƌĂŝŶŝĂŶ ůĂǁ ĞŶĨŽƌĐĞŵĞŶƚ ŝŶ <Ǉŝǀ ĨŽƌ ƚŚĞ h͘^͘ ĞƉĂƌƚŵĞŶƚ ŽĨ ^ƚĂƚĞ͘

                      ϳ͘ &Ƶůů DĞŵďĞƌ ŽĨ ƚŚĞ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ͕ ϮϬϬϭ ʹ ƉƌĞƐĞŶƚ͘
                         ƐƐŽĐŝĂƚĞ ŵĞŵďĞƌ͕ ϭϵϵϵ ʹ ϮϬϬϭ͘

                      ϴ͘ &ŽƌŵĞƌ ĨƵůů ŵĞŵďĞƌ ŽĨ ƚŚĞ DĂƌǇůĂŶĚ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ͘

                      ϵ͘ &Ƶůů ŵĞŵďĞƌ ŽĨ ƚŚĞ &ůŽƌŝĚĂ WŽůǇŐƌĂƉŚ ƐƐŽĐŝĂƚŝŽŶ͕ ϮϬϬϱ ʹ ƉƌĞƐĞŶƚ͘
                         &W ĞƌƚŝĨŝĞĚ WŽůǇŐƌĂƉŚĞƌ͘ ^ĞƌǀŝŶŐ ĂƐ Ă ŵĞŵďĞƌ ŽĨ ƚŚĞ ŽĂƌĚ ŽĨ
                         ŝƌĞĐƚŽƌƐ ƐŝŶĐĞ :ƵŶĞ ϮϬϮϭ͕ sŝĐĞ WƌĞƐŝĚĞŶƚͲWƌŝǀĂƚĞ ƐŝŶĐĞ :ƵŶĞ ϮϬϮϮ͕
                         ĂŶĚ ŚĂŝƌŵĂŶ ŽĨ ƚŚĞ ŽĂƌĚ ƐŝŶĐĞ ĞĐĞŵďĞƌ͕ ϮϬϮϯ͘ ZĞĐŝƉŝĞŶƚ ŽĨ ƚŚĞ
                         EŽǀĞŵďĞƌ ϮϬϮϮ KƵƚƐƚĂŶĚŝŶŐ ĐŚŝĞǀĞŵĞŶƚ ǁĂƌĚ ŝŶ ƌĞĐŽŐŶŝƚŝŽŶ ŽĨ
                         ŽƵƚƐƚĂŶĚŝŶŐ ƉĞƌĨŽƌŵĂŶĐĞ ŝŶ ƚŚĞ ĨŝĞůĚ ŽĨ ƉŽůǇŐƌĂƉŚ͘

                      ϭϬ͘ &Ƶůů ŵĞŵďĞƌ ŽĨ ƚŚĞ ŵĞƌŝĐĂŶ ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůŝĐĞ WŽůǇŐƌĂƉŚŝƐƚƐ͕
                          ϮϬϭϯͲƉƌĞƐĞŶƚ͘ ZĞĐŝƉŝĞŶƚ ŽĨ ƚŚĞ ϮϬϭϳ ŵĞƌŝĐĂŶ ƐƐŽĐŝĂƚŝŽŶ ŽĨ WŽůŝĐĞ
                          WŽůǇŐƌĂƉŚŝƐƚƐ ZĞŐŝŽŶ s ZŝĐŚĂƌĚ K͘ ƌƚŚĞƌ ŝƌĞĐƚŽƌ͛Ɛ ǁĂƌĚ͘

                      ϭϭ͘ &ŽƌŵĞƌ ŵĞŵďĞƌ ŽĨ ƚŚĞ &/ ŐĞŶƚ͛Ɛ ƐƐŽĐŝĂƚŝŽŶ͘

                      ϭϮ͘ &Ƶůů DĞŵďĞƌ ŽĨ ƚŚĞ ^ŽĐŝĞƚǇ ŽĨ &ŽƌŵĞƌ ^ƉĞĐŝĂů ŐĞŶƚƐ ŽĨ ƚŚĞ &/͕
                          :ĂŶƵĂƌǇ ϮϬϭϭ ʹ ƉƌĞƐĞŶƚ͖ EĂƚŝŽŶĂů ĂŶĚ ^ƵŶĐŽĂƐƚ ŚĂƉƚĞƌƐ͘

                      ϭϯ͘ DĞŵďĞƌ͕ &ůŽƌŝĚĂ ƐƐŽĐŝĂƚŝŽŶ ŽĨ >ŝĐĞŶƐĞĚ /ŶǀĞƐƚŝŐĂƚŽƌƐ͕ ϮϬϭϭͲϮϬϭϵ͘

                      ϭϰ͘ Ɛ Ă ůŝĐĞŶƐĞĚ ƉƌŝǀĂƚĞ ŝŶǀĞƐƚŝŐĂƚŽƌ͕ ŚĂǀĞ ĐŽŶĚƵĐƚĞĚ ŝŶǀĞƐƚŝŐĂƚŝŽŶƐ ĨŽƌ
                          ůĂǁ ĞŶĨŽƌĐĞŵĞŶƚ ;ďĂĐŬŐƌŽƵŶĚͿ͕ ,ŝůůƐďŽƌŽƵŐŚ ŽƵŶƚǇ ƚƚŽƌŶĞǇ͛Ɛ
                          KĨĨŝĐĞ͕ ĚĞĨĞŶƐĞ ĂŶĚ Đŝǀŝů ůŝƚŝŐĂƚŝŽŶ ĂƚƚŽƌŶĞǇƐ͕ ŵĂũŽƌ ĐŽŵƉĂŶŝĞƐ͕
                          ĐĞůĞďƌŝƚŝĞƐ ĂŶĚ ƚĞůĞǀŝƐŝŽŶ ƉƌŽĚƵĐĞƌƐ͕ ĂƐ ǁĞůů ĂƐ ĐŽŶĚƵĐƚŝŶŐ ĞůĞĐƚƌŽŶŝĐ
                          ĐŽƵŶƚĞƌͲƐƵƌǀĞŝůůĂŶĐĞ ƐǁĞĞƉƐ͘



           WK>z'ZW, yD/Ed/KE^ D/dd /E KhZd
Dƌ͘ Kƌƌ ĐŽŶĚƵĐƚĞĚ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ŽŶ :ĞƐƵƐ ,ĞƌŶĂŶĚŽ ŶŐƵůŽ DŽƐƋƵĞƌĂ ŝŶ ǁŚŝĐŚ ƚŚĂƚ
ĞǆĂŵŝŶĂƚŝŽŶ ŚĂƐ ďĞĞŶ ĂĚŵŝƚƚĞĚ ĂƐ ĞǀŝĚĞŶĐĞ͕ ǁŝƚŚŽƵƚ ƐƚŝƉƵůĂƚŝŽŶ͕ Ăƚ ƚƌŝĂů͘ hŶŝƚĞĚ ^ƚĂƚĞƐ ŝƐƚƌŝĐƚ
ŽƵƌƚ͕ DŝĚĚůĞ ŝƐƚƌŝĐƚ ŽĨ &ůŽƌŝĚĂ͕ dĂŵƉĂ ŝǀŝƐŝŽŶ͘ hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĨ ŵĞƌŝĐĂ ǀƐ :ĞƐƵƐ ,ĞƌŶĂŶĚŽ
ŶŐƵůŽ DŽƐƋƵĞƌĂ͕ ĂƐĞ EŽ͗͘ ϴ͗ϭϰͲĐƌͲϯϳϵͲdͲϯϲd't͕ ŽĐƵŵĞŶƚ ϭϲϭ͕ &ŝůĞĚ ϬϰͬϬϵͬϮϬϭϰ͘
^ƵďƐĞƋƵĞŶƚ ƚŽ ĂŶ ĞǀŝĚĞŶƚŝĂƌǇ ŚĞĂƌŝŶŐ ŽŶ ϭϮͬϮϯͬϮϬϭϰ ŽŶ ƚŚĞ ĂĚŵŝƐƐŝďŝůŝƚǇ ŽĨ ƉŽůǇŐƌĂƉŚ ĞǀŝĚĞŶĐĞ
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ŝŶ ƚŚŝƐ ŵĂƚƚĞƌ ƵŶĚĞƌ &ĞĚĞƌĂů ZƵůĞ ϳϬϮ͕ ƚŚĞ ĐŽƵƌƚ ŐƌĂŶƚĞĚ ĂŶĚ ǁŝůů ƉĞƌŵŝƚ ƚŚĞ ƉŽůǇŐƌĂƉŚ ĞǀŝĚĞŶĐĞ
ƚŽ ďĞ ĂĚŵŝƚƚĞĚ Ăƚ ƚƌŝĂů͘

Dƌ͘ Kƌƌ ĂůƐŽ ƚĞƐƚŝĨŝĞĚ ĂƐ ĂŶ ĞǆƉĞƌƚ ǁŝƚŶĞƐƐ ďĞĨŽƌĞ :ƵĚŐĞ ,ŽŶĞǇǁĞůů ƉƌŝŽƌ ƚŽ ƐĞŶƚĞŶĐŝŶŐ ƌĞŐĂƌĚŝŶŐ
Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ŚĞ ĐŽŶĚƵĐƚĞĚ ŽŶ >ĂƵƌĂ >ĞǇǀĂ ŝŶ Ă ŚĞĂůƚŚĐĂƌĞ ĨƌĂƵĚ ĐĂƐĞ͘ hŶŝƚĞĚ ^ƚĂƚĞƐ
ŝƐƚƌŝĐƚ ŽƵƌƚ͕ DŝĚĚůĞ ŝƐƚƌŝĐƚ ŽĨ &ůŽƌŝĚĂ͕ dĂŵƉĂ ŝǀŝƐŝŽŶ͘ hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĨ ŵĞƌŝĐĂ ǀƐ >ĂƵƌĂ >ĞǇǀĂ͕
ĂƐĞ EŽ͗͘ ϴ͗ϭϰͲZͲϬϬϭϬϳͲ,ͲW͕ ŽĐƵŵĞŶƚ ϰϮ͕ &ŝůĞĚ ϭϬͬϮϲͬϮϬϭϰ͘

/Ŷ ĂŶŽƚŚĞƌ ĐĂƐĞ͕ hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĨ ŵĞƌŝĐĂ ǀƐ <ĂƚŚƌǇŶ :ĂƐĞŶ͕ 'ůĞŶŶ :ĂƐĞŶ͕ ĂƐĞ EŽ͗͘ ϴ͗ϭϱͲĐƌͲ
Ϯϭϰ:tͲdDͲϮ͕ hŶŝƚĞĚ ^ƚĂƚĞƐ ŝƐƚƌŝĐƚ ŽƵƌƚ͕ DŝĚĚůĞ ŝƐƚƌŝĐƚ ŽĨ &ůŽƌŝĚĂ͕ Ă ƉŽůǇŐƌĂƉŚ ƌĞƉŽƌƚ ŽĨ
Dƌ͘ Kƌƌ ǁĂƐ ƵƚŝůŝǌĞĚ ďǇ ĂŶ ĂƚƚŽƌŶĞǇ ƌĞƉƌĞƐĞŶƚŝŶŐ ƚŚĞ ĚĞĨĞŶĚĂŶƚ ƉŽƐƚͲĐŽŶǀŝĐƚŝŽŶ͘ dŚĞ ƌĞƉŽƌƚ͕
ƉƌĞƉĂƌĞĚ ƐƵďƐĞƋƵĞŶƚ ƚŽ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵ ĨŽƌ ƚŚĞ ŽƌŝŐŝŶĂů ĂƚƚŽƌŶĞǇ͕ ǁĂƐ ĂůůŽǁĞĚ ďǇ :ƵĚŐĞ
:ĂŵĞƐ ͘ tŚŝƚƚĞŵŽƌĞ ƚŽ ďĞ ĐŽŶƐŝĚĞƌĞĚ ĨŽƌ ŵŝƚŝŐĂƚŝŽŶ ƉƵƌƉŽƐĞƐ ĚƵƌŝŶŐ ƐĞŶƚĞŶĐŝŶŐ͘

dŚĞƐĞ ƚŚƌĞĞ ƉŽůǇŐƌĂƉŚ ĞǆĂŵƐ ǁĞƌĞ ĨĞĂƚƵƌĞĚ ŝŶ ƚŚĞ ƵŐƵƐƚ ϮϬϭϳ ĞĚŝƚŝŽŶ ŽĨ ͞dŚĞ ŚĂŵƉŝŽŶ͕͟ Ă
ƉƌŽĨĞƐƐŝŽŶĂů ƉĞƌŝŽĚŝĐĂů ŽĨ ƚŚĞ EĂƚŝŽŶĂů ƐƐŽĐŝĂƚŝŽŶ ŽĨ ƌŝŵŝŶĂů ĞĨĞŶƐĞ >ĂǁǇĞƌƐ͘ dŚĞ ĂƌƚŝĐůĞ ǁĂƐ
ĂƵƚŚŽƌĞĚ ďǇ ŚƌŝƐƚŽƉŚĞƌ <Ğƌƌ ĂŶĚ ǁĂƐ ƚŝƚůĞĚ ͞ĨĨĞĐƚŝǀĞ ĞĨĞŶƐĞ WŽůǇŐƌĂƉŚƐ͘͟ dŚŝƐ ĂƌƚŝĐůĞ ǁĂƐ
ƌĞƉƌŝŶƚĞĚ ǁŝƚŚ ƉĞƌŵŝƐƐŝŽŶ ŝŶ ƚŚĞ :ĂŶƵĂƌǇͬ&ĞďƌƵĂƌǇ ĞĚŝƚŝŽŶ ŽĨ ƚŚĞ ŵĞƌŝĐĂŶ WŽůǇŐƌĂƉŚ
ƐƐŽĐŝĂƚŝŽŶ ũŽƵƌŶĂů͘

/Ŷ hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĨ ŵĞƌŝĐĂ ǀƐ ĞďŽƌĂŚ WŝĞƌƌĞ͕ ŝůůǇ ůƚŝĚŽƌ ĂŶĚ ǀĂŶŝĞ >ŽƵŝƐ͕ ĂƐĞ EŽ͗͘ ϲ͗ϭϵͲĐƌͲ
ϭϰͲKZ>Ͳϯϭ /͕ hŶŝƚĞĚ ^ƚĂƚĞƐ ŝƐƚƌŝĐƚ ŽƵƌƚ͕ DŝĚĚůĞ ŝƐƚƌŝĐƚ ŽĨ &ůŽƌŝĚĂ͕ ƉŽůǇŐƌĂƉŚ ƌĞƉŽƌƚƐ ŽĨ Dƌ͘
Kƌƌ ǁĞƌĞ ƵƚŝůŝǌĞĚ ŝŶ ƐĞŶƚĞŶĐŝŶŐ ŚĞĂƌŝŶŐƐ ďǇ ƚǁŽ ĂƚƚŽƌŶĞǇƐ ĨƌŽŵ ĚŝĨĨĞƌĞŶƚ ůĂǁ ĨŝƌŵƐ ǁŚŽ
ƌĞƉƌĞƐĞŶƚĞĚ ƚǁŽ ŽĨ ƚŚĞ ĚĞĨĞŶĚĂŶƚƐ ŝŶ ƚŚŝƐ ĐĂƐĞ͘ dŚĞ ƚŚŝƌĚ ĚĞĨĞŶĚĂŶƚ ǁĂƐ ĂĐƋƵŝƚƚĞĚ͕ ĂŶĚ ƚŚĞ
ƚǁŽ ƌĞŵĂŝŶŝŶŐ ĚĞĨĞŶĚĂŶƚƐ ƌŝƐŬĞĚ ůŽƐŝŶŐ ĐŽŽƉĞƌĂƚŝŽŶ ĐƌĞĚŝƚ ĨŽƌ ƚĞƐƚŝĨǇŝŶŐ ĂŐĂŝŶƐƚ ƚŚĞ ĂĐƋƵŝƚƚĞĚ
ĐŽͲĚĞĨĞŶĚĂŶƚ͘ ĨƚĞƌ :ƵĚŐĞ 'ƌĞŐŽƌǇ ͘ WƌĞƐŶĞůů ĂĚŵŝƚƚĞĚ ƚŚĞŝƌ ƉŽůǇŐƌĂƉŚ ĞǆĂŵƐ͕ ƚŚĞǇ ƌĞǀĞĂůĞĚ
ƚŚĞǇ ŚĂĚ ŶŽƚ ĐŽŵŵŝƚƚĞĚ ƉĞƌũƵƌǇ ŝŶ ƚĞƐƚŝĨǇŝŶŐ ĂŐĂŝŶƐƚ ƚŚĞŝƌ ĐŽͲĚĞĨĞŶĚĂŶƚ ĂŶĚ ƚŚĞǇ ŐŽƚ ĨƵůů ĐƌĞĚŝƚ
ĨŽƌ ĐŽŽƉĞƌĂƚŝŽŶ Ăƚ ƐĞŶƚĞŶĐŝŶŐ͘

/Ŷ hŶŝƚĞĚ ^ƚĂƚĞƐ ŽĨ ŵĞƌŝĐĂ ǀƐ ĂŝůǇŶƐŽŶ͖ Ğƚ Ăů͕ ĂƐĞ EŽ͗͘ ϵ͗ϭϴͲĐƌͲϴϬϭϮϰͲZZ͕ hŶŝƚĞĚ ^ƚĂƚĞƐ
ŝƐƚƌŝĐƚ ŽƵƌƚ͕ ^ŽƵƚŚĞƌŶ ŝƐƚƌŝĐƚ ŽĨ &ůŽƌŝĚĂ͕ Dƌ͘ Kƌƌ ĂƉƉĞĂƌĞĚ Ăƚ ĂŶ ĞǀŝĚĞŶƚŝĂƌǇ ŚĞĂƌŝŶŐ ŝŶ DŝĂŵŝ
ƚŽ ƚĞƐƚŝĨǇ ƌĞŐĂƌĚŝŶŐ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ĐŽŶĚƵĐƚĞĚ ŽŶ Ă ĐŽͲĚĞĨĞŶĚĂŶƚ͕ DĂƌŬ '͘ ŐƌĞƐƚŝ͕
D͘͕͘ ŝŶ ƚŚŝƐ ŵĂƚƚĞƌ ƉŽƐƚͲĐŽŶǀŝĐƚŝŽŶ͘ ƌ͘ ŐƌĞƐƚŝ ŝƐ ƐĞĞŬŝŶŐ Ă ŶĞǁ ƚƌŝĂů͘ dŚĞ ƉƌŽƐĞĐƵƚŝŽŶ ŝŶĚŝĐĂƚĞĚ
ƚŚĞǇ ŚĂĚ ŶŽ ƋƵĞƐƚŝŽŶƐ ƚŽ ĂƐŬ ŽĨ ƚŚĞ ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĞƌ ĂŶĚ ĂŐƌĞĞĚ ƚŽ ƐƚŝƉƵůĂƚĞ ƚŚĞ ĂĚŵŝƚƚĂŶĐĞ
ŽĨ ƚŚĞ ƉŽůǇŐƌĂƉŚ ƌĞƉŽƌƚ͘ h͘ ^ ŝƐƚƌŝĐƚ ŽƵƌƚ :ƵĚŐĞ ZŽĚŽůĨŽ ͘ ZƵŝǌ // ƐĂŝĚ ƚŚĂƚ ŚĞ ŚĂĚ ƚŚĞ
ĞǆĂŵŝŶĞƌ͛Ɛ ƌĞƉŽƌƚ ĂŶĚ s ĂŶĚ ĂŐƌĞĞĚ ƚŽ ĂĚŵŝƚ ƚŚĞ ƌĞƉŽƌƚ ŝŶƚŽ ĞǀŝĚĞŶĐĞ ǁŝƚŚŽƵƚ ƚĞƐƚŝŵŽŶǇ͘
:ƵĚŐĞ ZƵŝǌ // ƚŚĞƌĞĂĨƚĞƌ ŐƌĂŶƚĞĚ ƌ͘ ŐƌĞƐƚŝ Ă ŶĞǁ ƚƌŝĂů͘

D/D/Ͳ ^dd WZK^hdKZ͛^ K&&/ ^͗
:ƵƐƚŝĐĞ WƌŽũĞĐƚ WŽůǇŐƌĂƉŚ͗ dŚŽŵĂƐ ZĂǇŶĂƌĚ :ĂŵĞƐ ǁĂƐ ĂƌƌĞƐƚĞĚ ŽŶ DĂǇ ϵ͕ ϭϵϵϬ͕ ĨŽƌ ƚŚĞ :ĂŶƵĂƌǇ
ϭϳ͕ ϭϵϵϬ ƌŽďďĞƌǇ ĂŶĚ ŵƵƌĚĞƌ ŽĨ &ƌĂŶĐŝƐ DĐ<ŝŶŶŽŶ ŝŶ ŽƌĂů 'ĂďůĞƐ͕ &ůŽƌŝĚĂ͘ ,Ğ ǁĂƐ
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ƐƵďƐĞƋƵĞŶƚůǇ ĐŽŶǀŝĐƚĞĚ ďĂƐĞĚ ƐŽůĞůǇ ŽŶ ĞǇĞͲǁŝƚŶĞƐƐ ƚĞƐƚŝŵŽŶǇ͕ ǁŝƚŚ ŶŽ ƉŚǇƐŝĐĂů ĞǀŝĚĞŶĐĞ ƚŽ
ĐŽŶŶĞĐƚ Śŝŵ ƚŽ ƚŚĞ ĐƌŝŵĞ͘ dŚĞ DŝĂŵŝͲĂĚĞ ^ƚĂƚĞ ƚƚŽƌŶĞǇ͛Ɛ KĨĨŝĐĞ ;^KͿ ĞǀĞŶƚƵĂůůǇ ůŽŽŬĞĚ ŝŶƚŽ
ƚŚĞ ĐĂƐĞ ƵŶĚĞƌ ŝƚƐ :ƵƐƚŝĐĞ WƌŽũĞĐƚ͘ dŚĞ ĨŝŶĂů͕ ĂŶĚ ͞ǀĞƌǇ ŝŵƉŽƌƚĂŶƚ͟ ŚƵƌĚůĞ͕ ŝŶ ƚŚĞŝƌ ŝŶǀĞƐƚŝŐĂƚŝŽŶ
ǁĂƐ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ŽĨ ƚŚĞ ĚĞĨĞŶĚĂŶƚ ĐŽŶĚƵĐƚĞĚ ďǇ :ĂŵĞƐ Kƌƌ ŽŶ Ɖƌŝů Ϯϱ͕ ϮϬϮϮ͘ dŚĞ
^K ƐŚĂƌĞĚ ƚŚĞ ĐŽƐƚ ŽĨ ƚŚĞ ĞǆĂŵ ǁŝƚŚ ĚĞĨĞŶƐĞ ĂƚƚŽƌŶĞǇ EĂƚĂůŝĞ &ŝŐŐĞƌƐ ĂŶĚ ƚŚĞ ^ƚĂƚĞ͛Ɛ
ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĞƌ͕ ^ĐŽƚƚ tĞŝŐŵĂŶ͕ ŵŽŶŝƚŽƌĞĚ ƚŚĞ ĞǆĂŵ͘ Dƌ͘ :ĂŵĞƐ ǁĂƐ ĨŽƵŶĚ ďǇ ďŽƚŚ
ĞǆĂŵŝŶĞƌƐ ƚŽ ďĞ ƚƌƵƚŚĨƵů ǁŚĞŶ ŚĞ ĚĞŶŝĞĚ ĂŶǇ ŝŶǀŽůǀĞŵĞŶƚ ŝŶ ƚŚĞ ƌŽďďĞƌǇͬŵƵƌĚĞƌ͘ KŶ Ɖƌŝů Ϯϳ͕
ϮϬϮϮ͕ ŝŶ ƚŚĞ ŝƌĐƵŝƚ ŽƵƌƚ ŽĨ ƚŚĞ ůĞǀĞŶƚŚ :ƵĚŝĐŝĂů ŝƌĐƵŝƚ /Ŷ ŶĚ &Žƌ DŝĂŵŝͲĂĚĞ ŽƵŶƚǇ͕
&ůŽƌŝĚĂ͕ ĂƐĞ EŽ͘ &ϵϬͲϮϯϵϮϴ͕ :ƵĚŐĞ DŝŐƵĞů ĚĞ ůĂ K ŝƐƐƵĞĚ ĂŶ ŽƌĚĞƌ ǀĂĐĂƚŝŶŐ Ăůů ũƵĚŐĞŵĞŶƚƐ͕
ĐŽŶǀŝĐƚŝŽŶƐ ĂŶĚ ƐĞŶƚĞŶĐĞƐ ŝŶ ƚŚŝƐ ĐĂƐĞ ĂŶĚ Dƌ͘ :ĂŵĞƐ ǁĂƐ ƌĞůĞĂƐĞĚ ĂĨƚĞƌ ƐĞƌǀŝŶŐ ϯϮ ǇĞĂƌƐ ŽĨ ŚŝƐ
ůŝĨĞ ƐĞŶƚĞŶĐĞ͘

ŽƵƌƚ ŽĨ ƌďŝƚƌĂƚŝŽŶ ĨŽƌ ^ƉŽƌƚƐ͕ >ĂƵƐĂŶŶĞ͕ ^ǁŝƚǌĞƌůĂŶĚ͗
dĞƐƚŝĨŝĞĚ ƌĞŵŽƚĞůǇ ďǇ ǀŝĚĞŽ ĨĞĞĚ ŽŶ Ɖƌŝů Ϯϭ͕ ϮϬϮϯ͕ ƌĞŐĂƌĚŝŶŐ Ă ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ /
ĐŽŶĚƵĐƚĞĚ ŽŶ EŽǀĞŵďĞƌ ϭϰ͕ ϮϬϮϮ͕ ĨŽƌ ĂƚƚŽƌŶĞǇ ƌŝĞů ZĞĐŬ ŽŶ Ă ƉƌŽĨĞƐƐŝŽŶĂů ƐŽĐĐĞƌ ƉůĂǇĞƌ
ƌĞŐĂƌĚŝŶŐ Ă ĚƌƵŐ ƚĞƐƚ ƚŚĂƚ ƐŚŽǁĞĚ ƉŽƐŝƚŝǀĞ ĨŽƌ Ă ƐƵďƐƚĂŶĐĞ ďĂŶŶĞĚ ďǇ ƚŚĞ &ĞĚĞƌĂƚŝŽŶ ŽĨ
/ŶƚĞƌŶĂƚŝŽŶĂů &ŽŽƚďĂůů ƐƐŽĐŝĂƚŝŽŶ ;&/&Ϳ͘

KŶ &ĞďƌƵĂƌǇ ϵ͕ ϮϬϮϰ͕ :ĂŵĞƐ Kƌƌ ƚĞƐƚŝĨŝĞĚ ŝŶ ƚŚĞ ŝƌĐƵŝƚ ŽƵƌƚ ŽĨ ƚŚĞ ϭϴ ƚŚ :ƵĚŝĐŝĂů ŝƌĐƵŝƚ͕
^ĞŵŝŶŽůĞ ŽƵŶƚǇ͕ &ůŽƌŝĚĂ͕ ĂƐĞ EŽ͗͘ ϮϬϮϮͲZͲϬϬϮϲϳϯ ďĞĨŽƌĞ ƚŚĞ ,ŽŶŽƌĂďůĞ DĞůŝƐƐĂ ^ŽƵƚŽ ŝŶ Ă
,ĞĂƌŝŶŐ ĨŽƌ ĂŶ ŵĞŶĚĞĚ ŵŽƚŝŽŶ ƚŽ ĚŝƐƐŽůǀĞ ĨŝŶĂů ũƵĚŐĞŵĞŶƚ ŽĨ ŝŶũƵŶĐƚŝŽŶ͘ dŚĞ ĞǆƉĞƌƚ ƚĞƐƚŝŵŽŶǇ
ƉƌŽǀŝĚĞĚ ǁĂƐ ƌĞŐĂƌĚŝŶŐ ƚŚĞ ƵŐƵƐƚ ϭϲ͕ ϮϬϮϮ͕ ƉŽůǇŐƌĂƉŚ ĞǆĂŵŝŶĂƚŝŽŶ ĐŽŶĚƵĐƚĞĚ ďǇ Dƌ͘ Kƌƌ ŽĨ
DĂƐƵĚŝ <ŝƐŝƚƵ ƌĞŐĂƌĚŝŶŐ ĂŶ ĂůůĞŐĂƚŝŽŶ ŽĨ ƐĞǆƵĂů ĂƐƐĂƵůƚ͘
